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                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK


BRYAN FAUBUS on behalf of himself          Case No.
and all others similarly situated,
                                           CLASS ACTION COMPLAINT
                 Plaintiff,
                                           Jury Trial Demanded
                 v.

IFINEX INC.; BFXNA INC.; BFXWW INC.;
TETHER HOLDINGS LIMITED; TETHER
LIMITED; DIGFINEX INC.; TETHER
OPERATIONS      LIMITED;     TETHER
INTERNATIONAL LIMITED; AND JOHN
DOES 1-50,

                 Defendants.
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           Plaintiff Bryan Faubus, individually and on behalf of himself and all those similarly

situated, as defined below, bring this class action against Defendants (defined below), based on

publicly available materials, including a class action complaint, Young et al, vs. Ifinex, Inc. et al,

1:20-cv-000169 (filed January 8, 2020) (the “Young Action”),1 and information and belief, and

alleges as follows:

                                          NATURE OF THE ACTION

           1.       During the period October 1, 2014 through and including the present (the “Class

Period”), Tether Defendants issued and maintained a stablecoin known as Tether (“USD₮”),

which is a digital token whose value is anchored to the U.S. dollar. Defendants claimed to have

maintained a one-to-one reserve ratio between USD₮ and the U.S. dollar.

           2.       At all relevant times, Tether Defendants maintained the exclusive ability to issue

and remove USD₮, including the timing of USD₮ issuances and removals. During the Class

Period, USD₮ remained the most used stablecoin in the world and the overwhelming majority of

Bitcoin trading volume involved USD₮.                    While Tether Defendants’ initial USD₮ issuance

occurred in October 2014, Tether began issuing USD₮ more regularly and in greater volume in

2017 and 2018.

           3.       During the Class Period, Defendants, through their unique control and access to

printing USD₮, manipulated prices of Bitcoin by issuing USD₮ unbacked by a 1:1 U.S. dollar

reserve and using the newly created USD₮ to purchase Bitcoin through U.S.-based

cryptocurrency exchanges Bittrex and Poloniex.                      Defendants’ unbacked printing of USD₮

artificially inflated the price of Bitcoin, which enabled Defendants to extract supra-competitive

profits from Bitcoin traders. Specifically, the analysis in the Young Action (“Young’s analysis”)


1
    Counsel in this action has consulted with counsel in the Young Action prior to the filing of the complaint.
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demonstrated that Bitcoin returns generally declined just before the USD₮ issuance dates and

improved afterwards. Moreover, Defendants’ inside information about USD₮ issuances enabled

Defendants to sell Bitcoin once Bitcoin prices were artificially inflated, thus permitting

Defendants to replenish Tether Defendants’ U.S. dollar reserves.

       4.       In addition, by manipulating the price of Bitcoin, Defendants necessarily

manipulated the market for derivatives linked to Bitcoin, including Bitcoin futures traded on the

Chicago Mercantile Exchange (“CME”) and Chicago Board Options Exchange (“Cboe”).

Bitcoin futures provide a wide variety of market participants the ability to gain exposure to

Bitcoin and hedge Bitcoin price exposure.

       5.       Bitcoin and Bitcoin futures prices run in parity, or lockstep, in the same direction.

Pricing trends in the Bitcoin spot market directly impact Bitcoin futures prices. Bitcoin futures

and Bitcoin futures traders necessarily rely on the spot prices of Bitcoin for price discovery and

for assessing prices of Bitcoin futures. Given the lockstep price correlation between Bitcoin and

Bitcoin futures prices, any increase or decrease in Bitcoin prices are immediately and

correspondingly reflected in Bitcoin futures prices.

       6.       As detailed herein, including through statistical analysis, Defendants’ conduct

resulted in artificial prices in Bitcoin and Bitcoin futures, throughout the Class Period, and

otherwise harmed the legitimate forces of supply and demand in the Bitcoin market and related

on-exchange market. The statistical evidence in Young’s analysis further demonstrates that

Defendants, their co-conspirators, and John Does 1-50 had the ability to cause artificial prices in

Bitcoin and Bitcoin futures, and in fact caused artificial prices in Bitcoin and Bitcoin futures.

       7.       Plaintiff has been injured by paying artificial and anticompetitive prices for

Bitcoin as a direct and proximate result of Defendants’ unlawful conduct alleged herein.




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Plaintiff and other members of the Class were deprived of trading in a lawful competitive market

for Bitcoin and Bitcoin futures during the Class Period and have been injured in their businesses

and property.

       8.        Plaintiff is a Bitcoin trader, and thus is best situated to bring claims on behalf of

other traders of Bitcoin and Bitcoin futures. The claims asserted by Plaintiff include various

claims under the Commodity Exchange Act, the Sherman Act, and the Racketeer Influenced and

Corrupt Organization Act (“RICO”). Plaintiff’s claims are made on information and belief based

on the investigation conducted by and under the supervision of Plaintiff’s counsel.              That

investigation included reviewing and analyzing information concerning Defendants and Bitcoin,

which Plaintiff (through their counsel) obtained from, among other sources: (1) reports on the

Bitcoin market; (2) pricing data for Bitcoin; (3) pricing data for Bitcoin futures; (5) publicly

available press releases, news articles, and other media reports related to investigations into

Bitcoin and Defendants; and (6) court filings Defendants and governmental entities made related

to Defendants.

       9.        Except as alleged in this complaint, neither Plaintiff nor other members of the

public have access to the underlying facts relating to Defendants’ improper conduct. Rather, that

information lies exclusively within the possession, custody, or control of Defendants, their co-

conspirators, and John Does 1-50, which prevents Plaintiff from further detailing Defendants’

misconduct. Plaintiff believes further evidentiary support for their allegations will come to light

after a reasonable opportunity for discovery.

                         JURISDICTION, VENUE AND COMMERCE

       10.       This action arises under Section 2 of the Sherman Act (15 U.S.C. § 2), Sections 4

and 16 of the Clayton Act (15 U.S.C. §§ 15, 26), and Sections 2(a), 6(c), and 22 of the




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Commodity Exchange Act (“CEA”) (7 U.S.C. § 1 et seq.). The action is for compensatory

damages, treble damages, costs of suit, reasonable attorneys’ fees, and such other relief as the

Court may deem to be just and proper.

       11.     This Court has federal question subject matter jurisdiction under 28 U.S.C.

§§ 1331 and 1337, Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15, 26(a), Section 22 of

the CEA, 7 U.S.C. § 25, and 18 U.S.C. § 1964(c) of RICO.

       12.     This court has personal jurisdiction over Defendants, as each Defendant

transacted business, commerce, and trading in the U.S. and in this District during the periods of

price manipulation alleged herein. Each Defendant also has substantial contacts within the U.S.,

including in this District, and engaged in multiple acts in furtherance of its conspiracy in the

U.S., including in this District. Defendants, therefore, should have foreseen the possibility of

being brought before this Court as a result of Defendants’ wrongful conduct.

       13.     Venue is proper in this District, pursuant to, among other statutes, Section 22 of

the CEA, 7 U.S.C. § 25(c), 15 U.S.C. § 22, 28 U.S.C. § 1391(b), (c), and (d), and Section 1965

of RICO (18 U.S.C. § 1965). At all times, Defendants transacted in this District and a substantial

part of the events giving rise to the claims asserted herein occurred in this District.

       14.     Defendants made use of the means and instrumentalities of interstate commerce,

including interstate wires, in connection with Defendants’ unlawful acts and practices and

courses of business alleged in this Complaint. Defendants’ monopolization and anticompetitive

conduct were within the flow of the interstate commerce of the United States and were intended

to, and did, in fact, have a substantial effect on the interstate commerce of the United States.

Defendants’ conspiracy and Defendants’ overt acts taken in furtherance of it, were directed at,




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and had the intended effect of, causing injury to persons residing in, located in, or doing business

in the United States, including in this District.

                                                    PARTIES

     I.         PLAINTIFF

          15.      Plaintiff Bryan Faubus was at all times a resident of the State of New York.

Plaintiff transacted in Bitcoin during the Class Period at artificial prices.

          16.      Because of Defendants’ monopolization and anticompetitive conduct described in

this Complaint, Plaintiff suffered damages from a manipulated Bitcoin and Bitcoin futures

market.

    II.         DEFENDANTS

          A.       iFinex Inc.

          17.      Defendant iFinex Inc. (“iFinex”) is a corporation organized under the laws of the

British Virgin Islands with its principal place of business located at Suite 13/F, 1308 Bank of

America Tower, 12 Harcourt Road Central, Hong Kong.

          18.      Defendant iFinex Inc. wholly owns Defendants Bitfinex.2                      During the Class

Period, Defendant Bitfinex and the Tether Defendants shared a unity of corporate interest, with

shared management3 and investors, and operated as part of a single enterprise in furtherance of a

monopolization that was directed at, and had the intended effect of, causing injury to persons

residing in, located in, or doing business in the United States, including in this District.

          B.       Bitfinex

          19.      Defendants BFXNA Inc. (“BFXNA”) and BFXWW Inc. (“BFXWW”)

2
 Aff. of Brian M. Whitehurst at ¶ 8, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019 (N.Y.
Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 1.
3
 For example, Tether and Bitfinex shared the same chief executive officer, chief financial officer, and general
counsel.



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(collectively, “Bitfinex”) are incorporated under the laws of the British Virgin Islands with their

principal place of business located at Suite 13/F, 1308 Bank of America Tower, 12 Harcourt

Road Central, Hong Kong.

            20.       Together, BFXNA and BFXWW operate the online cryptocurrency exchange

called “Bitfinex,”4 with BFXNA contracting with U.S.-based customers and BFXWW

contracting with non-U.S.-based customers.5

            21.       Bitfinex Defendants are wholly owned subsidiaries of Defendant iFinex Inc.

            C.        DigFinex

            22.       Defendant DigFinex Inc. (“DigFinex”) is a corporation organized under the laws

of the British Virgin Islands with its principal place of business located at Jayla Place Wickhams

Cay 1, Road Town, Tortola, British Virgin Islands.6

            23.       DigFinex is the ultimate parent company and majority owner of Tether and

iFinex,7 and is operated by the same individuals that own and operate Bitfinex and Tether.8

            D.        Tether

            24.       Defendant Tether Holdings Limited is a corporation organized under the laws of

the British Virgin Islands with its principal place of business located at 17F-1, No. 266 Sec. 1,

Wenhua Road., Banqiao District, New Taipei City, Taiwan 22041.

            25.       Defendant Tether Limited, a wholly owned subsidiary of Tether Holdings

Limited, is a corporation organized under the laws of Hong Kong and headquartered in Taiwan.
4
 Aff. of Brian M. Whitehurst at ¶ 10, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 1.
5
    Id. at ¶ 7.
6
 Aff. of Brian M. Whitehurst at Ex. M, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 94.
7
 Aff. of Brian M. Whitehurst at ¶ 16, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 1.
8
    Id. at ¶ 88.



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            26.      Defendant Tether Operations Limited, a wholly owned subsidiary of Tether

Holdings Limited, is a corporation organized under the laws of Hong Kong. Tether Operations

Limited is responsible for processing trades made by Tether’s U.S.-based investors.

            27.      Defendant Tether International Limited, a wholly owned subsidiary of Tether

Holdings Limited, is a corporation organized under the laws of Hong Kong. Tether International

Limited is responsible for processing Tether’s non-U.S.-based investors.

            28.      Defendants Tether Holdings Limited, Tether Limited, Tether Operations Limited,

and Tether International Limited are collectively referred to as “Tether” or the “Tether

Defendants.”

            29.      Tether Defendants are majority owned by Defendant DigFinex and is operated by

the same individuals that own and operate iFinex and DigFinex, which together operated an

enterprise that controlled the issuance of USD₮.9 Specifically, Ludovicus Jan van der Velde and

Giancarlo Devasini are directors and owners of Defendants DigFinex, iFinex, and Tether.10

            E.       John Does 1-50

            30.      Defendants John Does 1-50 are persons and entities, financial institutions, and/or

trading firms that directly or indirectly participated in the manipulation and anticompetitive

conduct in connection with Bitcoin and the Bitcoin futures market, as described herein.

            31.      The identity of individuals and firms that trade Bitcoin and/or Bitcoin CME or

Cboe futures is anonymous and not available to the public. Plaintiff will be able to identify the

John Doe Defendants through discovery of various cryptocurrency exchanges and trading

records in possession of the CME Group Inc. that it is required to be maintained under the CEA

including, but not limited to, cleared, executed trade data, audit trail data, Order Entry Operator

9
    Id. at ¶ 16.
10
     Id. at Ex. K.



                                                     7
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identifications, Tag 50 IDs, User Assigned IDs, and Clearing Information.



       F.       Agents and Affiliates

       32.      The defined term “Defendants,” as used herein, includes each of the named

Defendant’s predecessors, successors, parents, wholly owned or controlled subsidiaries, and/or

affiliates, employees, officers, and directors.

       33.      Whenever reference is made to any act, deed, or transaction of any corporation,

the allegation means that the corporation engaged in the act, deed, or transaction by or through

its officers, directors, agents, employees, representatives, parents, predecessors, or successors-in-

interest while they were actually engaged in the management, direction, control, or transaction of

business or affairs of the corporation.

       34.      Each named Defendant herein acted as the agent of, or participated in a joint

venture for, all other Defendants with respect to the acts, violations, and common course of the

conduct alleged herein.




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                                    SUBSTANTIVE ALLEGATIONS

     I.         OVERVIEW OF THE BITCOIN MARKET

          A.      Overview of Bitfinex and USD₮

          35.     Virtual currencies, also known as cryptocurrencies, are digital assets that are used

as a medium of exchange. The overwhelming majority of cryptocurrencies trade on a centralized

exchange11 known as cryptocurrency exchanges, which seek to match buyers and sellers of a

virtual currency. Bitcoin (“BTC”) is currently the world’s most highly valued, widely traded,

and liquid cryptocurrency.12 Figure 1 below depicts the trading volume of Bitcoin in 2017 and

2018 on four (4) cryptocurrency exchanges: Bittrex, Coinbase, Gemini, and Kraken.

                   Figure 1 – Trading Volume of Bitcoin Between 2017 and 2018




          36.     In 2014, Defendant Tether Limited launched a blockchain-enabled digital token

called tether, which Defendant Tether Limited purports to be backed by fiat currencies, such as



11
  Tether: Fiat Currencies on the Bitcoin Blockchain, Tether, https://tether.to/wp-
content/uploads/2016/06/TetherWhitePaper.pdf (last visited Nov. 21, 2019).
12
  CME Submission No. 17-417, CME Group, (Dec. 1, 2017),
https://www.cmegroup.com/content/dam/cmegroup/market-regulation/rule-filings/2017/12/17-417.pdf.



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the U.S. dollar, held in Defendant Tether Limited’s reserve bank accounts. Tether backed by the

U.S. dollar is known as USD₮, whereas tether backed by the Euro is known as EURT. At all

relevant times, Tether Defendants claimed to have maintained a one-to-one reserve ratio between

the digital token and the associated fiat currency.13

           37.      Tether Defendants purport that one tether USD₮ equals one U.S. dollar. USD₮ is

known as a “stablecoin,” which is a digital token whose value is anchored to the value of the fiat

currency. As of October 2019, USD₮ is arguably “the most important coin in the crypto

ecosystem” with monthly trading volume approximately 18% greater than Bitcoin.14

           38.      Prior to late February 2019, Tether Defendants publicly stated on its website that

“[e]very tether [USD₮] is always backed 1-to-1, by traditional currency held in our reserves. So

1 USD₮ is always equivalent to 1 USD.”15

           39.      Similarly, Tether Defendants’ whitepaper regarding fiat currencies on the Bitcoin

blockchain stated that each USD₮ is fully “backed” by one U.S. dollar16 and that “[a]t any given

time the balance of fiat currency held in our reserves will be equal to (or greater than) the

number of tethers in circulation.”17 Tether Defendants’ whitepaper further notes that, “each

tetherUSD in circulation represents one US dollar held in our reserves (i.e. a one-to-one ratio)

which means the system is fully reserved when the sum of all tethers in existence (at any point in

time) is exactly equal to the balance of USD held in our reserve.”18

13
     Tether: Fiat Currencies on the Bitcoin Blockchain, supra note 10.
14
  Olga Kharif, The World’s Most-Used Cryptocurrency Isn’t Bitcoin, Bloomberg (Sept. 30, 2019),
https://www.bloomberg.com/news/articles/2019-10-01/tether-not-bitcoin-likely-the-world-s-most-used-
cryptocurrency.
15
     Tether.to (Jan. 17, 2019), https://web.archive.org/web/20190117041854/https://tether.to/.
16
  Jeff Wise, Is the Price of Bitcoin Based on Anything at All?, Medium (Aug. 22, 2018),
https://medium.com/s/story/is-the-price-of-bitcoin-based-on-anything-at-all-8989790678e9.
17
     Tether: Fiat currencies on the Bitcoin Blockchain, supra note 10.
18
     Tether: Fiat currencies on the Bitcoin Blockchain, supra note 10, at 9.



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            40.      As of March 4, 2019, Tether Defendants amended its description of USD₮ to

state that USD₮ is “backed by our reserves.”19

            41.      Each USD₮ transaction contains the intermediary wallet IDs of the sender and

recipient, usually delineated by a string of 34 characters and numbers. These digital wallet IDs

permit users to send, receive, and transact in Bitcoin and other virtual currencies.                          Tether

Defendants publicly report a “richlist” of digital wallets of the tether blockchain.20 In addition,

the Omniexplorer, an online repository of all confirmed USD₮ transactions, maintains a listing

of digital wallets assigned to the tether blockchain.

            42.      According to counsel for Tether Defendants, Tether issues USD₮s when an

investor requests to purchase USD₮s by depositing U.S. dollars with Tether Defendants or

another trading platform authorized to accept dollar deposits in exchange for USD₮s.21

            43.      Once Tether Defendants issue USD₮s, those USD₮s are transferred from Tether’s

“treasury wallet” directly to Bitfinex. At all times, Tether Defendants maintain control over

Tether’s “treasury wallet.” After the Tether Defendants transfer the newly issued USD₮s to

Bitfinex, they are transferred to one of several exchanges, with nearly two-thirds of the USD₮s

transferred to U.S.-based exchanges Bittrex and Poloniex.

            44.      Given Tether’s integral role with Bitcoin transactions, it is essential that Tether

Defendants maintain sufficient U.S. dollar reserves on hand in order to execute withdrawal

orders from customers. At all times during the Class Period, USD₮ was the main stablecoin by

which other cryptocurrencies were priced, including Bitcoin.22

19
     FAQs, Tether, https://tether.to/faqs/ (last visited Nov. 21, 2019).
20
     See Rich List, Tether, https://wallet.tether.to/richlist (last visited Nov. 21, 2019).
21
  Aff. of Brian M. Whitehurst at ¶ 34, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County Apr. 25, 2019), NYSCEF No. 1.
22
     See Is the Price of Bitcoin based on Anything At All?, supra note 15.



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           45.   During the Class Period, Tether Defendants’ USD₮ supply was significantly

larger than any other stablecoin. For example, in October 2018, Tether was nearly five times

larger than the next five stablecoins combined and accounted for approximately 84% of the total

supply of stablecoins on the Omni Layer Protocol. The approximate remaining percentage of

stablecoins collectively were accounted for by Circle USDC (“USDC”), Maker Dai (“DAI”),

Paxos Standard (“PAX”), and TrustToken TrueUSD (“TUSD”).23 Figures 2 and 3 below detail

the total supply by stablecoin as of October 2018.

                      Figure 2 – Omni Layer Protocol Supply by Stablecoin24




23
   Alex Vikati, Tether vs Other Stablecoins, Medium (Oct. 19, 2018), https://medium.com/@vikati/tether-vs-other-
stablecoins-96b6846a9b7.
24
     Id.



                                                       12
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                     Figure 3 – Omni Layer Protocol Supply by Stablecoin25




           46.   Tether was nearly five times larger than the next five stablecoins combined and

accounted for approximately 84% of the total supply of stablecoins on the Omni Layer Protocol.

           47.   Moreover, during the Class Period, the overwhelming majority of total volume

transacted involving Bitcoin was done through USD₮. For example, as of September 2019,

approximately 70.95% of all total monthly Bitcoin volume traded into fiat or stablecoin was

executed using USD₮. Figure 4 below details the proportion of total monthly Bitcoin trading

into different fiat currencies and stablecoin as of September 2019.




25
     Id.



                                                13
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                       Figure 4 – Total Monthly Bitcoin Trading into Fiat or Stablecoins
                                      Between July and September 201926




           48.      As of September 2019, USD₮ remained the most used stablecoin in the world.27

During the Class Period, the majority of Tether Defendants’ USD₮ issuances were routed

through related entity Bitfinex, a fiat-to-cryptocurrency exchange owned and operated by

Defendant iFinex, the owner of Tether.                In turn, nearly two-thirds of Tether Defendants’

issuances routed through Defendant Bitfinex flowed through U.S.-based cryptocurrency

exchanges Bittrex and Poloniex. Founded in 2012, Bitfinex is the “world’s largest exchange by

volume for trading Bitcoin against the US Dollar.”28 Through Bitfinex, customers can deposit,

trade, and withdraw various cryptocurrencies such as Bitcoin and Ethereum. Bitfinex earns

revenue by charging investors a transaction fee for all trades on its platform.29

           49.      In addition, Bitfinex is a fiat-to-crypto exchange, meaning that customers could




26
  Exchange Review September 2019, CryptoCompare,
https://www.cryptocompare.com/media/35651687/cryptocompare_exchange_review_2019_09.pdf?blog.
27
     Kharif, supra note 13.
28
 What is Bitfinex, Bitfinex, https://support.bitfinex.com/hc/en-us/articles/213892209-What-is-Bitfinex- (last visited
Nov. 21, 2019).
29
     Id.



                                                         14
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deposit and withdraw U.S. dollars, euros, pounds, and yen.30 These deposits can then be stored

or exchanged for USD₮ or cryptocurrencies, such as Bitcoin. Once a customer makes a deposit,

Tether Limited issues USD₮s. At all relevant times, Tether Defendants maintained the exclusive

right to issue or remove USD₮ from the market.31

            50.     Prior to August 2017, Bitfinex had little or no restrictions on whether U.S.-based

investors could access Bitfinex’s trading platform, which meant that U.S.-based investors were

able to create and fund accounts, trade, and withdraw funds.32 In August 2017, Bitfinex began to

restrict U.S.-based individual investors’ access to trading on Bitfinex, thus preventing them from

trading, creating accounts, and withdrawing funds.33 However, Bitfinex continued to permit

U.S.-based business entities access to Bitfinex until approximately August 2018.34 Tether’s

Terms of Service did not specifically prohibit redemption of tether by U.S.-based individuals or

business entities until November 2018.35

            51.     In addition, despite Bitfinex’s restrictions on U.S.-based investors, documents

obtained by the State of New York Office of the Attorney General (“OAG”) revealed that

Bitfinex still permitted customers located in New York to continue to transact on Bitfinex.36

Moreover, the documents obtained by the New York OAG demonstrate that Defendants

knowingly flouted restrictions intended to preclude U.S.-based investors from accessing and

transacting on Bitfinex.

30
  Aff. of Brian M. Whitehurst at ¶ 23, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County Apr. 25, 2019), NYSCEF No. 1
31
     Id. at ¶ 34.
32
     Id.at ¶ 24.
33
     Id.
34
     Id.
35
  Aff. of Brian M. Whitehurst at ¶ 16, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.
36
     Id. at ¶ 9.



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            52.     For example, in an e-mail dated January 24, 2018, Giancarlo Devasini, the Chief

Financial Officer of Bitfinex,37 wrote to a U.S.-based Bitfinex customer and Jeffrey Wallis, an

employee of Noble Bank Ltd., a bank that Bitfinex and Tether Limited used at the time, “Jeffrey:

please take good care of [REDACTED], he’s a very good customer of ours. You guys are both

in New York and I think you should meet[.]”38 The document demonstrates that Bitfinex’s CFO

knew that a U.S.-based customer was accessing Bitfinex in contravention of Bitfinex’s stated

terms of service, which prohibited U.S.-based individual investors from accessing and trading on

Bitfinex as of August 2017.

            53.     Similarly, in another e-mail dated January 24, 2018, Giancarlo Devasini sent an e-

mail to Paola Ardoino, Chief Technology Officer at Bitfinex, Bjorn De Wolf, Customer Support

Manager at Bitfinex, and Philip Potter, Chief Strategy Officer at Bifinex, and a U.S.-based

Bitfinex customer.39 Mr. Devasini wrote, “Guys please meet [REDACTED], our main contact at

[REDACTED], big trading company in New York.”40 Mr. Devasini also noted that “Phil Potter .

. . will be glad to help you with anything related to your trading activity” and that “Bjorn De

Wolf . . . will help you with green-laning your addresses for a faster confirmation of your coin

withdrawals.”41

            54.     This e-mail clearly demonstrates that multiple senior executives at Bitfinex not

only knew that U.S.-based customers were accessing Bitfinex, in violation of Bitfinex’s stated

terms of service, but that Bitfinex senior executives, including the Chief Strategy Officer, Chief

37
     Id. at ¶ 37.
38
  Aff. of Brian M. Whitehurst at Ex. D, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 85.
39
  Aff. of Brian M. Whitehurst at Ex. E, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 86.
40
     Id.
41
     Id.



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Financial Officer, and Chief Technology Officer, were willing to aid and abet a U.S.-based

investor’s trading activities in violations of Bitfinex’s stated terms of service.

           55.    Defendants’ brazen disregard for Bitfinex’s stated terms of service, namely in

permitting U.S.-based investors access to trade on Bitfinex, continued well into 2018 and 2019.

In October 2018, Defendants “onboarded”42 Galaxy Digital L.P., a U.S.-based trading firm

located at 107 Grand Street in New York, New York, and its associated entities, to trade on

Bitfinex.43 Moreover, the correspondence between Bitfinex and Galaxy clearly notes that the

address for Galaxy Digital L.P. was located in New York.44 Defendants knew, or should have

known, that Galaxy Digital L.P. and its associated entities were U.S.-based investors, and yet

Defendants disregarded Bitfinex’s stated terms of service to permit Galaxy Digital L.P. to access

Bitfinex.

           56.    Similarly, the New York OAG obtained documents from Defendants indicating

that the “verification” of a trader on Bitfinex clearly notes that the trader resides in, and traded

from, the State of New York.45 Other documents obtained by the New York OAG reveal that

Defendants knew that hundreds of U.S.-based customers were trading and accessing Bitfinex

from the United States from November 7, 2017 through May 4, 2019.46

           57.    In addition, the New York OAG noted that Bitfinex permitted “unverified” users

(i.e., users for whom Bitfinex did not have personal identifying information to confirm the

42
  “On-boarding” refers to the process of creating and verifying an account to execute transactions on a
cryptocurrency exchange. See Virtual Markets Integrity Initiative, Office of the New York State Attorney General
(Sept. 18, 2018), https://virtualmarkets.ag.ny.gov.
43
  Aff. of Brian M. Whitehurst at Ex. H, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 89.
44
     Id.
45
  Aff. of Brian M. Whitehurst at Ex. I, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 90.
46
  Aff. of Brian M. Whitehurst at ¶¶ 13-14, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.



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identify or location of the user) to access Bitfinex.47 Bitfinex users were not required to “submit

a range of personal identifying information” or “government-issued identification” in order to

trade.48 Rather, Bitfinex required “little more than an email address to begin trading virtual

currencies.”49        These “unverified” users were able to purchase, sell, and exchange

cryptocurrencies on Bitfinex.50

            58.     Collectively, these documents and e-mails show that Defendants’ restrictions for

U.S.-based investors were spurious and were not enforced in any manner throughout the Class

Period. Defendants lack of restrictions, and open ignorance of prior restrictions, meant that at all

times during the Class Period, U.S.-based investors had access to Bitfinex, including creating,

funding, trading, and withdrawing funds.

            59.     Executives and senior management for Defendants DigFinex, Bitfinex, iFinex,

and Tether regularly conducted corporate activities from within the United States. Documents

obtained by the New York OAG reveal that one of Defendant DigFinex’s largest shareholders,

Phil Potter, Chief Strategy Officer at Bitfinex, conducted corporative activities and resided in

New York.

            60.     Phil Potter was a key executive conducting business on behalf of Defendants

DigFinex, iFinex, and Tether. Giancarlo Devasini noted on January 24, 2018, that Phil Potter

“lives in New York” and that he would “be glad to help you [U.S.-based customer] with anything




47
     Id. at ¶ 51.
48
  Virtual Markets Integrity Initiative, Office of the New York State Attorney General (Sept. 18, 2018),
https://virtualmarkets.ag.ny.gov.
49
     Id.
50
  Aff. of Brian M. Whitehurst at ¶ 51, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.



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related to your trading activity.”51 Moreover, in an internet-based interview, Giancarlo Devasini

acknowledged that “Phil . . . has a big contribution [] in the decision making.”52

         61.      For example, in December 2017, Defendants DigFinex, iFinex Inc., and Tether

Holding Limited, at the initiation of Phil Potter, opened business bank accounts at New

York-based Metropolitan Commercial Bank and proceeded to transact in those accounts

thereafter.53 The various letters from Metropolitan Commercial Bank demonstrate that Potter

transacted substantial amounts of business activities on behalf of Defendants iFinex Inc. and

Tether Holding Limited within the United States.

         62.      In February 2018, Potter opened business accounts for Defendants DigFinex,

iFinex Inc., and Tether Holding Limited with Signature Bank, a New York-based bank, and

proceeded to transact in those accounts until at least April 2018.54 These transactions and the

creation of the accounts were executed at the direction of Phil Potter55 from the United States.

         63.      The documents obtained by the New York OAG evidence that Potter conducted

significant transactions on behalf of Defendants from within the United States. Defendants

DigFinex, iFinex Inc., and Tether Holding Limited, through Potter, made a multi-million-dollar

Series A investment in Noble Talents LLC, which was operated by Noble executives from New




51
  Aff. of Brian M. Whitehurst at Ex. M, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 94.
52
  Bitfinex’ed, The Audio Recording Bitfinex Doesn’t Want You to Hear, Medium (Feb. 7, 2018),
https://medium.com/@bitfinexed/the-audio-recordings-bitfinex-doesnt-want-you-to-hear-44d677cf1094.
53
  Aff. of Brian M. Whitehurst at Ex. M, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 94.
54
  Aff. of Brian M. Whitehurst at ¶¶ 25-26, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.
55
  Aff. of Brian M. Whitehurst at Ex. N, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 95.



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York.56      Specifically, an e-mail from Phil Potter, dated December 4, 2017, to personnel

associated with Noble Bank indicate that Potter made strategic decisions stating, “[p]er my

discussion with John today, we are back on for a $2 million investment in the Series A round.”57

           64.     In addition, documents obtained by the New York OAG reveal that in 2017

Defendant Bitfinex entered into a “sponsored pool agreement” with Noble Bank and a third-

party virtual currency trading firm containing a forum-selection clause selecting the United

States as the forum.58 Specifically, the forum-selection clause states: “[b]ut, for the convenience

of the parties any and all disputes hereunder shall be resolved exclusively in state or federal

courts within the State of New York in the Borough of Manhattan and the parties hereby accept

the existence of personal jurisdiction over them in such jurisdiction and agree not to assert that

any such court in the Borough of Manhattan is an inconvenient forum.”59 Defendant Bitfinex

executed the sponsored pool agreement consenting to jurisdiction in the United States,

specifically New York.60

           65.     Additional documentation obtained by the New York OAG demonstrates that

Defendants iFinex Inc. and Tether Holding Limited contracted with several vendors, including a

New York-based public relations firm, and conducted meetings and operations from the United

States.61        On December 1, 2017, Defendant Bitfinex announced that it had retained



56
  Aff. of Brian M. Whitehurst at ¶¶ 27-29, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.
57
  Aff. of Brian M. Whitehurst at Ex. O, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 96.
58
  Aff. of Brian M. Whitehurst at Ex. Q, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 98.
59
     Id.
60
     Id.
61
  Aff. of Brian M. Whitehurst at ¶ 53, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.



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New York-based public relations firm 5W Public Relations regarding its operations.62 An e-mail

obtained by the New York OAG reveals that Bitfinex’s general counsel, Stuart Hoegner,

requested to meet in person with employees from 5W Public Relations in New York in

November 2017 to address skepticism expressed by market participants regarding Tether

Holding Limited’s cash reserves.63 Specifically, Stuart Hoegner wrote, “I have an early meeting

in D.C. on Monday. If you have some time, we can get together for as long as you want in New

York late on Monday afternoon. Looks like I can be in midtown by about a quarter to 4. Could

we get together at 4pm for as long as you want?”64 Collectively, these documents demonstrate

that Defendants targeted investors, conducted and directed corporate business, retained domestic

vendors, and addressed concerns from market participants all from within the United States.

           B.     History of USD₮ Issuances

           66.    While the first USD₮ was issued on October 6, 2014,65 Tether Limited began

issuing USD₮ on a more regular basis in the middle of 2016. Figure 5 below illustrates Young’s

analysis of Tether Limited issuances of USD₮ as of May 2019.




62
  Aff. of Brian M. Whitehurst at Ex. V, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 103
63
  Aff. of Brian M. Whitehurst at Ex. W, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 104.
64
     Id.
65
   John M. Griffin & Amin Shams, Is Bitcoin Really Un-Tethered?, SSRN, at 12 (October 28, 2019),
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3195066.



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 Figure 5 – Tether Issuance
                   I        Da
                             ates and Issu
                                         uance Amou
                                                  unts Octobeer 2014 throough May 22019




       67.           ustrated by Figure 5 above, the vasst majority oof Tether Deefendants’ U
               As illu                                                                      USD₮

issuancess occurred in
                     n 2017, when
                                n Bitcoin ex
                                           xperienced a prolonged pprice bubble..

                Figu
                   ure 6 – Tether Issuances and Amouunts by Mon
                                                              nth Between
                                                                        n
                              October
                              O        2014
                                          4 through M
                                                    May 2019




       68.     Moreo
                   over, as dem
                              monstrated in
                                         i Figure 6 above, the largest issuuances of U
                                                                                     USD₮

occurred between November
                 N        20
                           017 and Jan
                                     nuary 2018, during whicch time the price of Biitcoin

increased
        d nearly dram
                    matically. Seee Figure 7 below.
                                             b



                                               22
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           69.       Specifically, between January 2016 and December 2017, the price of Bitcoin

jumped from $400 to a peak of $19,497 per Bitcoin on December 16, 2017. Figure 7 below

demonstrates the dramatic increase in Bitcoin prices in 2017, and the subsequent collapse in

prices in 2018.

                      Figure 7 – BTC/USD Exchange Rate between 2013 and 2019




           70.       Whereas Tether Defendants’ USD₮ issuances prior to November 2017 averaged

less than 50,000,000 USD₮ per issuance, starting in November 2017, near the height of the

Bitcoin price bubble, Tether Defendants’ USD₮ issuances began to significantly increase,

averaging no less than 100,000,000 USD₮ per issuance.

           71.       Bitcoin prices peaked on December 16, 2017, at $19,497 per Bitcoin.66

           72.       Young’s analysis and research demonstrates that Tether Defendants’ USD₮

issuances were used to purchase Bitcoin in large quantities following negative pricing returns,

thereby reversing declining prices and stabilizing Bitcoin.



66
     See Figure 7.



                                                    23
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        73.      As of June 2019, Tether Limited has issued approximately $3.0 billion in USD₮

coins to date.      Tether’s increase in USD₮ issuances is commensurate with the significant

increase in daily Bitcoin and tether trading volumes. See Figure 8 below.

              Figure 8 – Bitcoin & Tether Trading Volume, 2015 through May 2019




        74.      During the Class Period, USD₮ became a major source of liquidity for Bitcoin

transactions, accounting for upwards of 98.7% of the total Bitcoin trading in stablecoins.

According to CryptoCompare,67 for example, as of March 2019, “USD₮ represents 98.7% of the

total Bitcoin trading” compared with the next four largest stablecoins.68 See Figure 9.




67
  Founded in 2014, “CryptoCompare is a central authority for clear and concise information, offering unrivalled
breadth, scope and depth of data, bridging the gap between the crypto asset and traditional financial markets.”
About Us, CryptoCompare, https://www.cryptocompare.com/about-us/ (last visited Oct. 8, 2019).
68
   Exchange Review March 2019, CryptoCompare, 13,
https://www.cryptocompare.com/media/35650390/cryptocompare_exchange_review_2019_03.pdf (last visited Oct.
8, 2019).



                                                        24
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Figure 9 – Proportion of BTC Trading into Top Stablecoins for January - March 201969




           75.      Between May and July 2019, USD₮ proportion of Bitcoin trading into stablecoins

was approximately 97%.70 Moreover, in a Bloomberg article, dated June 6, 2019, Bitfinex

acknowledged USD₮’s dominance saying that tether accounts for 98.7% of trading volume.71

Figure 10 below further demonstrates the monopoly that Tether Defendants hold over Bitcoin

trading into stablecoins.




69
  Id. The remaining stablecoins in Figure 9 are Maker Dai (“DAI”), Circle USDC (“USDC”), Paxos Standard
(“PAX”), TrustToken TrueUSD (“TUSD”), and Gemini Dollar (“GUSD”).
70
   Exchange Review July 2019, CryptoCompare, 21,
https://www.cryptocompare.com/media/35651284/cryptocompare_exchange_review_2019_07.pdf (last visited Oct.
8, 2019).
71
     Kharif, supra note 13.



                                                   25
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           Figure 10 – Proportion of BTC Trading into Top Stablecoins for May - July 201972




             76.    Furthermore, the number of “active accounts” (i.e., non-zero balance accounts)

further illustrates the pivotal role that tether played in Bitcoin trading. In October 2018, for

example, tether maintained nearly 45 times the number of active accounts than rival stablecoins

DAI, TUSD, PAX, GUSD, and USDC.73 Figure 11 below illustrates tether active accounts

compared with other stablecoins.74




72
     Id.
73
     Vikati, supra note 22.
74
     Vikati, supra note 22.



                                                  26
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                  Figure 11 – Number of Holders by Stablecoin as of October 201975




           77.      Additionally, as of April 2019, Bitcoin trading into USD₮ represented

approximately 80% of total volume traded into fiat or stablecoin, as detailed below in Figure

12.76 Throughout the Class Period, USD₮ dominated Bitcoin trading into fiat or stablecoin.77




75
     Vikati, supra note 22.
76
   Steven Ehrlich, After an $850 Million Controversy, What Everyone Should Know about Fitfinex, Tether and
Stablecoins, Forbes (May 2, 2019, 9:09 a.m), https://www.forbes.com/sites/stevenehrlich/2019/05/02/after-an-850-
million-controversy-what-everyone-should-know-about-bitfinex-tether-and-stablecoins/#4101ae81492f.
77
  Exchange Review April 2019, CryptoCompare, 10,
https://www.cryptocompare.com/media/35650606/cryptocompare_exchange_review_2019_04.pdf (last visited
Oct 8, 2019).



                                                      27
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       Figure 12 – Proportion of Total Monthly Bitcoin Trading into Fiat or Stablecoins for
                                     February – April 201978




           Figure 13 – February through April 2019 Bitcoin Trading into Fiat or Stablecoins79




 II.               DEFENDANTS MANIPULATED BITCOIN TO INCREASE TRADING
                   PROFITS

             A.      Defendants Issued USD₮s to Inflate Bitcoin Prices

             78.     Throughout the Class Period, Defendants had multiple motives to cause artificial

increases and decreases in Bitcoin prices. Defendants’ control of Bitfinex and exclusive ability

78
  Id. Fiat currencies include U.S. Dollar (“USD”), Euro (“EUR”), Japanese Yen (“JPY”), South Korean Won
(“KRW”), Great British Pound (“GBP”), and Russian Ruble (“RUB”).
79
     Id.



                                                     28
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to print USD₮s through the USD₮ issuances gave Defendants the ability to manipulate Bitcoin

prices and extract supra-competitive profits from Bitcoin traders.

           79.      Upon information and belief, Defendants – along with most issuers of early

cryptocurrencies – are “long” Bitcoin, meaning their positions will increase in value if the price

of Bitcoin increases.80

           80.      Philip G. Potter, Chief Strategy Officer at Bitfinex from February 2014 through

June 2018,81 for example, admitted on a live talk internet show on January 20, 2015 that he is “a

long-term holder” of Bitcoin and that he has “a great deal of interest in Bitcoin.”82 Potter

elaborated that he has been “a trader all [his] life” and that he is “an investor in Bitcoin that will

add to his position a little bit on the way down and sell a little bit on the way up.”83 In addition

to his personal trading, Philip Potter managed a Bitcoin arbitrage and New York-based hedge

fund, Potter Ventures, LLC, while simultaneously working for Bitfinex.84

           81.      Furthermore, Bitfinex Chief Financial Officer Giancarlo Devasini admitted that

he has “over 1.2 million tokens” and that he kept “the vast majority of them on Bitfinex.”85

           82.      Similarly, Josh Rossi, then VP of Business Development at Bitfinex, admitted that

other Bitfinex employees on the “management team” “definitely do hold and are bullish on




80
     Griffin & Shams, supra note 64, at 16.
81
  Matthew Leising, Chief Strategy Officer of Bitfinex and Tether is Departing, Bloomberg (June 22, 2018),
https://www.bloomberg.com/news/articles/2018-06-22/chief-strategy-officer-of-bitfinex-and-tether-is-departing.
82
  Coinspeaker Staff, Audio File & Written Transcript of Bitfinex’s Philip Potter Trading Confession, Coinspeaker
(Jan. 25, 2015), https://www.coinspeaker.com/audio-file-written-transcript-of-phillip-potter-bitfinex-trading-
confession/.
83
     Id.
84
  Bitfinex’ed, Wash Trading Bitcoin Part II: Who and why is someone wash trading on Bitfinex?, Medium (Oct. 22,
2017), https://medium.com/@bitfinexed/wash-trading-bitcoin-part-ii-who-and-why-is-someone-wash-trading-on-
bitfinex-e1c7b5e0b3bb.
85
     Id.



                                                       29
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bitcoin.”86

           83.       Despite Bitfinex employees having access to issuances, customer orders, flows,

and other backend information on the exchange, Bitfinex does “not provide any restrictions on

employee trading.”87 Moreover, both the New York OAG and Bitfinex’s own executive, Phil

Potter, acknowledged that trading presents a “conflict of interest.”88

           84.       In a live internet interview, dated January 20, 2015, when asked whether Phil

Potter thought there is a conflict of interest given that he had access to Bitfinex customer

accounts, Phil Potter replied, “[t]here is of course a conflict of interest if I traded actively and I

don’t.”89 Phil Potter would clarify that he is “an investor in Bitcoin that will add to his position a

little bit on the way down and sell a little bit on the way up.”90

           85.       Similarly, the New York OAG noted that “[t]rading by platform employees poses a

conflict of interest.”91 The New York OAG wrote that this conflict of interest could be managed if

platforms, including Bitfinex, “adopt[], and its employees adhere to, policies and procedures

prohibiting employees from trading on the basis of information that gives them an advantage over

customers – for instance, access to non-public news (like the impending listing of a new virtual

currency on the platform), information about the status of the platform order book, or information

about its customers’ identities.”92

           86.       Defendants’ holdings of Bitcoin create a conflict of interest and strong incentive

86
 Daniel Mark Harrison, Bitfinex Scandal Erupts as Director Admits Trading While Maybe Seeing Customer Order,
Coinspeaker (Jan. 25, 2015), https://www.coinspeaker.com/bitfinex-scandal-erupts-as-director-admits-trading-
while-seeing-customer-orders/.
87
     Virtual Markets Integrity Initiative, supra note 47.
88
     Coinspeaker Staff, supra note 81.
89
     Id.
90
     Id.
91
     Virtual Markets Integrity Initiative, supra note 47.
92
     Id.



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to generate artificial demand to increase the price of Bitcoin and, in turn, the value of

Defendants’ holdings and those of the personal accounts of their employees. Moreover, the lack

of any Bitfinex policies and procedures prohibiting employees from trading Bitcoin provides

Defendants both non-public information and the means to manipulate Bitcoin prices.

           87.      According to the Affirmation of Brian M. Whitehurst, Assistant Attorney General

at the New York OAG, filed in the New York Supreme Court Action, Index No. 450545/2019,

(NYSCEF No. 1), Tether’s issuances of USD₮ were not in standard amounts or in consistently

timed intervals. Rather, Tether’s counsel represented that “issuances of new tether occur when

an investor has requested to purchase tethers by depositing U.S. dollars with Tether the

company, or by depositing U.S. dollars with a trading platform that is authorized to accept dollar

deposits in exchange for tethers.”93

           88.      Young’s analysis of Tether Limited’s USD₮ issuances and the subsequent large

USD₮ flow from Bitfinex to U.S. exchanges demonstrates a repeated “U-shaped” pattern in

Bitcoin prices, evidencing manipulation of Bitcoin prices.94 Young’s analysis found that Bitcoin

returns generally declined just before the USD₮ issuance dates and improved afterwards. This

suggests that Defendants printed USD₮s to manipulate and support the price of Bitcoin upwards.

The issuances reversed negative Bitcoin returns, enabling Defendants to enjoy supra-competitive

profits at the expense of Plaintiff and other purchasers of Bitcoin and Bitcoin futures. See Figure

14 below.




93
  Aff. of Brian M. Whitehurst at ¶ 34, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(Apr. 25, 2019), NYSCEF No. 1.
94
     See infra 55; Figures 18-21.



                                                         31
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                 Figure 14 – Defendants’ Manipulation of Bitcoin and Bitcoin Futures




           89.     During this time, Tether began employing a fractional reserve system wherein

Tether held only a fraction of the U.S. dollar deposits backing USD₮ printing. To artificially

inflate Bitcoin prices, Tether routinely printed more USD₮s than required based on organic fiat

currency deposits. This USD₮ was then transferred to the Bitfinex exchange and then to U.S.-

based exchanges Bittrex and Poloniex to purchase Bitcoin.

           90.     An anonymous statistical analysis, titled “Quantifying the Effect of Tether,”

analyzed the relationship between Bitcoin’s prices and USD₮ and found that Tether was

responsible for approximately 48.8% of Bitcoin’s price increases in 2017 during the Bitcoin

bubble.95 The report noted, “Tether printing moves the market appreciably; 48.8% of BTC’s

price rise in the period studied [December 25, 2016 through January 11, 2018] occurred in the

two-hour periods following the arrival of 91 different Tether grants to the Bitfinex wallet.”96




95
  Quantifying the Effect of Tether, Tether Report, at 6, http://www.tetherreport.com/slides.html (last visited Nov.
21, 2019).
96
     Id.



                                                        32
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According to the report, “it is highly unlikely that Tether is growing through any organic

business process, rather that they are printing in response to market conditions.”97

             91.      The suspect timing of Tether Limited’s USD₮ issuances as it coincides with

Bitcoin price increases is further supported by Tether’s under-capitalization and admitted lack of

a one-to-one reserve of U.S. dollars to USD₮s.

             92.      Furthermore, finance professors John M. Griffin and Amin Shams at the

University of Texas found that “purchases with Tether [USD₮] are timed following market

downturns and result in sizable increases in Bitcoin prices. The flow is attributable to one entity

. . . suggests insufficient Tether reserves before month-ends.”98 They found that “[t]he patterns

observed above are consistent either with one large player purchasing Tether with cash at

Bitfinex and then exchanging it for Bitcoin, or Tether being printed without cash backup and

pushed out through Bitfinex in exchange for Bitcoin.”99

             93.      The effect of Tether printing USD₮ regardless of the underlying demand for

USD₮ is at least three-fold. First, Professors Griffin and Shams explained that USD₮ “increases

the money supply in the crypto space” akin to “printing money,” which “can significantly push

cryptocurrency prices up by generating an artificial demand.”100 Early cryptocurrency adopters

who are long Bitcoin, such as Defendants, necessarily profit from inflating Bitcoin prices.

             94.      Second, Professors Griffin and Shams noted that “the coordinated supply of

Tether [USD₮] creates an opportunity to manipulate cryptocurrencies.”101 Defendants and their

co-conspirators could create USD₮s when Bitcoin prices are falling and in turn use the newly

97
     Id.
98
     Griffin & Shams, supra note 64, at 1.
99
     Id. at 7.
100
      Id. at 3.
101
      Id.



                                                   33
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created USD₮ supply to artificially inflate Bitcoin prices.102 Once Bitcoin prices are artificially

inflated, Defendants and their co-conspirators then sell Bitcoin back into USD₮ to replenish

Tether Defendants’ reserves.103 Professors Griffin and Shams explained that “[t]he issuers can

stabilize and/or set regionalized price floors and push the price of Bitcoin and other

cryptocurrencies upward.”104

            95.       Third, Professors Griffin and Shams noted that printing USD₮ without the

underlying demand provides “the Tether issuers [] a valuable put option in the case of a future

crypto market downturn or other losses.”105 If, for example, Bitcoin prices decline significantly,

Tether Defendants can default on redeeming USD₮ for dollars.106

            96.       Professors Griffin and Shams concluded that “[p]rices in this [Bitcoin] market

reflect much more than standard supply/demand and fundamental news. These distortive effects,

when unwound, could have a considerable negative impact on cryptocurrency prices.”107

            97.       Similarly, researchers from TokenAnalyst found that on days when Tether

Defendants issued USD₮, Bitcoin prices increased nearly 70% of the time.108

            98.       During the Class Period, Defendants continued pumping up the price of Bitcoin at

a rate exceeding any legitimate flow of customer funds, thus resulting in a rapid draining of

Defendants’ reserves and decreasing the ratio of USD₮ to fiat currencies. Defendants’ printing



102
      Id. at 3.
103
      Id. at 3.
104
      Id. at 17.
105
      Id.
106
      Id.
107
      Id. at 46-47.
108
   Matt Robinson & Matthew Leising, Tether Used to Manipulate Price of Bitcoin During 2017 Peak: New Study,
Bloomberg (June 13, 2018), https://www.bloomberg.com/news/articles/2018-06-13/professor-who-rang-vix-alarm-
says-tether-used-to-boost-bitcoin.



                                                     34
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of additional USD₮ during the Class Period had an inflationary effect on the price of Bitcoin,

akin to a government printing additional money.109

            99.     Unlike other stablecoins, Tether maintains opaque banking and auditing

relationships and does not disclose its banking relationships or submit its reserves to quarterly

audits.110 In response to assertions that Tether Limited failed to maintain fiat currency reserves

supporting a 1:1 valuation, Tether Limited published a memorandum from the accounting and

advisory firm Friedman LLP (headquartered in New York) evidencing Tether Limited’s

sufficient reserve bank accounts as of September 15, 2017.111 While not an official audit, the

report found that Tether Limited had issued 442,481,760 USD₮ and maintained USD reserves of

$442,984,592.112 The results of Friedman LLP’s report were published on September 28, 2017,

and made available to all Bitfinex users, including those in the United States.

            100.    On January 27, 2018, amid rising skepticism about Defendants’ purported U.S.

dollar reserves, Tether terminated its auditing relationship with Friedman LLP.113 On April 30,

2019, Tether disclosed through its counsel that Tether had backed only 74% of its then-

outstanding $2.8 billion USD₮ market cap.114 Specifically, Tether stated that “cash and cash

equivalents (short term securities) on hand totaling approximately $2.1 billion, representing

approximately 74 percent of the current outstanding tethers.”115 Tether further analogized its

operations to a commercial bank’s “fractional reserve” system, whereby the commercial bank

109
      Tether: Fiat Currencies on the Bitcoin Blockchain, supra note 10.
110
      Ehrlich, supra note 75.
111
   Friedman LLP, Memorandum Regarding Consulting Services Performed, Tether (Sept. 28, 2017),
https://tether.to/wp-content/uploads/2017/09/Final-Tether-Consulting-Report-9-15-17_Redacted.pdf.
112
      Id. at 4-5.
113
      Wise, supra note 15.
114
   Aff. of Stuart Hoegner at ¶ 33, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019 (Apr.
30, 2019), NYSCEF No. 24.
115
      Id.



                                                           35
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maintains “a small fraction of customer deposits, deploying the rest via investments.”116

            101.     In effect, Tether maintained a license to print USD₮, which it routinely used to

artificially inflate and manipulate the price of Bitcoin. Reporting on Tether, Medium wrote:

            “If Tether was in fact able to issue tokens not backed by fiat reserves, then
            effectively they would be printing U.S. dollars in the cryptocurrency ecosystem,”
            Wang Chu Wei, a researcher at the University of Queensland who has also
            studied Tether’s impact on the cryptocurrency market, wrote in an email. “If that
            was the case, Tether Limited’s role/power would be not dissimilar to that of a
            central bank; i.e., the ability to increase money supply and boost asset prices.”117
            102.     Defendants’ monopolization of USD₮ printing, and USD₮’s dominance in

Bitcoin to stablecoin trading, enabled Defendants to manipulate Bitcoin prices and extract supra-

competitive profits from Bitcoin traders. Since Defendants were long Bitcoin, Defendants had a

motive to artificially increase the price of Bitcoin in order to increase their profits.

            103.     Moreover, Defendants were concurrently trading.        As Phil Potter explained,

“add[ing] to [their] position a little bit on the way down and sell[ing] a little bit on the way up,”

prior to USD₮ issuances, Defendants were engaging in manipulative trading activities that

harmed market participants.

            104.     Bitcoin returns generally declined just before the USD₮ issuance dates and

improved afterwards, forming a “U-shaped” pattern. Defendants’ purchases “on the way down,”

just prior to USD₮ issuances, would have resulted in supra-competitive gains.                 Similarly,

Defendants sales “on the way up,” just after USD₮ issuances, would have resulted in supra-

competitive gains. See, infra Section V.A.




116
      Id. at ¶ 34.
117
      Wise, supra note 15.



                                                     36
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           B.       Defendants Engaged in Wash Trades Through Intermediaries

           105.     During the Class Period, Defendants collectively engaged in wash trading to give

the appearance of liquidity and to solidify Bitfinex as the largest cryptocurrency exchange.

Wash trading involves “entering into, or purporting to enter into, transactions to give the

appearance that purchases and sales have been made, without incurring market risk or changing

the trader’s market position.”118 Wash trading is a manipulative trading process that transmits

artificial and misleading information to the market and gives the appearance of increased

liquidity and trading volume.119

           106.     In a live internet interview dated October 1, 2016, Chief Financial Officer

Giancarlo Devasini admitted that in the weeks prior to October 2016, Bitfinex “was thinking

about . . . pushing some wash sales in the system . . .[to] try to be number one again.”120

Giancarlo Devasini then stated that they decided “against allowing this [wash trading]”

analogizing wash trading with “taking dope [drugs],” which Giancarlo Devasini acknowledged

“was not a good thing to do.”121 Despite Bitfinex’s CEO’s acknowledgment that wash trading

was like “taking dope,” Bitfinex had no mechanisms in place to prohibit wash trading.122

Defendants and their co-conspirators collectively engaged in wash trading by directed purchases

and sales through Bittrex and Poloniex, which in turn were cycled back to Bitfinex.

           107.     Once Tether print USD₮s, they are transferred to Bitfinex, which then sends the

USD₮ to U.S.-based cryptocurrency exchanges via known intermediary wallets for potential

118
   CFTC Glossary, CFTC https://www.cftc.gov/ConsumerProtection/EducationCenter/CFTCGlossary/
glossary_wxyz.html.
119
  James Chen, Wash Trading, Investopedia (Apr. 23, 2019), https://www.investopedia.com/terms/
w/washtrading.asp.
120
      Bitfinex’ed, supra note 83.
121
      Bitfinex’ed, supra note 83.
122
      Bitfinex’ed, supra note 83.



                                                     37
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exchangee for Bitcoin
                    n and other virtual curreencies. To ttrace the floow of newlyy printed US
                                                                                            SD₮s,

Young constructed
      c           a mapping algorithm
                            a         caapable of iddentifying thhe “intermeddiary walletts” of

those trad
         ders that sen
                     nt USD₮s to U.S.-based cryptocurrenncy exchangges.

           108.     A rev                      nces demonnstrates that most of thhe newly prrinted
                        view of Tetther’s issuan

USD₮s between
      b       2014 and 2018 were sent directly
                                      d        to Biitfinex via aan intermediaary wallet knnown

as the “Tether
       “       Treaasury.”           Yo
                                      oung’s analy
                                                 ysis identifiied that rouughly $19 bbillion of U
                                                                                                USD₮

transactio
         ons, or apprroximately one-third
                                o         (1/3
                                             3) of all US
                                                        SD₮ transacttions betweeen October 22014,

the date of Tether’s first issuancce, and May
                                            y 2018 were sent to Bitffinex and thhen to U.S.-bbased

exchangees such as Biittrex and Po
                                 oloniex.

           109.     Figuree 15 below illustrates thee flow of new
                                                                wly issued U
                                                                           USD₮s to U.S. exchangees:

        Figu
           ure 15 – Flo
                      ow of USD₮                      based cryptoocurrency eexchanges1233
                               ₮ from Tetheer to U.S.-b




           110.     The trransaction data
                                     d reveal th
                                               hat these waallets servedd only as inteermediaries.. For

example,, the transaction data dem
                                 monstrates that
                                            t    the Polooniex interm
                                                                    mediary walleet sent USD
                                                                                           D₮s to

only one wallet – thee Poloniex exchange
                                e        waallet. Similaarly, the Bitt
                                                                    ttrex intermeediary wallett sent

USD₮s to only the Bittrex
                  B       exchaange.
123
      Huobi is a Singapore-based cryptocu
                                        urrency exchan
                                                     nge.



                                                        38
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       111.    In ad          ung’s analysis of the USD₮ trannsaction datta uncovereed an
                   ddition, You

additionaal intermediaary wallet th
                                  hat circulateed USD₮s b ack from thhe U.S.-based cryptocurrrency

exchangees to Bitfineex, labeled “Recycling Wallet”
                                            W       in thhe above Figgure 15. Thhe flows from
                                                                                            m the

       ng Wallet back to Bitffinex suggesst that Bitfi
Recyclin                                            finex might have strugggled to locate a

purchaser for all USD₮s that Biitfinex sent to
                                            t various U
                                                      U.S.-based exchanges, aand/or that T
                                                                                         Tether

and its afffiliates cash
                       hed out of ex
                                   xisting Bitco
                                               oin positionss using USD
                                                                      D₮ as the fiaat currency. This

suggests that Bitfinex
                     x used Polon
                                niex, Bittrex
                                            x, and Recyclling Walletss to engage inn wash tradiing to

create arrtificial volu
                      ume and maaintain Bitfin
                                             nex’s positioon as the “nnumber one” cryptocurrrency

exchangee.

 Figure 16 – USD₮ Sent to U.S
                            S. exchangess by Intermeediary Walllets Between
                                                                          n October 22014
                                   throu
                                       ugh May 20118




       112.    Betweeen 2014 an
                              nd 2018, Tether
                                       T      Limitted issued aapproximateely $3 billioon in

USD₮. Of
      O that, Polo
                 oniex and Bittrex
                           B       receiv
                                        ved approxim
                                                   mately $2 biillion (approoximately 666% of

all USD₮
       ₮ issuances) from Bitfineex’s known intermediaryy wallets.

       113.    As demonstrated in
                               i Figures 15 and 16, Deefendants afffirmatively directed, thrrough

Bitfinex, approximattely 66% of all USD₮ isssuances betw
                                                       ween 2014 aand 2018 thrrough U.S.-bbased



                                                 39
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exchanges Poloniex and Bittrex in furtherance of Defendants’ and their co-conspirators’

conspiracy to manipulate and artificially fix, suppress, or stabilize the price of Bitcoin on U.S.-

based exchanges.

           114.     Defendants’ control of USD₮ issuances and Bitfinex permitted Defendants and

their co-conspirators to coordinate purchases and sales with rising and falling Bitcoin prices.

When Bitcoin prices were falling, Defendants and their co-conspirators printed USD₮s and

artificially increased the price of Bitcoin. Once Defendants and their co-conspirators artificially

inflated the price of Bitcoin, Defendants and their co-conspirators then converted the Bitcoin

back into USD₮s to replenish Tether’s reserves. In effect, the “Tether creators essentially have a

put option to default on redeeming Tether, or to potentially experience a ‘hack’ where Tether or

related dollars disappear.”124

           115.     While Bitfinex and Tether purported to maintain a one-to-one reserve of U.S.

dollars to USD₮s, documents disclosed from the OAG reveal that Tether and Bitfinex failed to

maintain a one-to-one reserve and faced extreme difficulty meeting client withdrawals.125

           116.     Tether’s inability to meet client withdrawals, coupled with Young’s statistical

evidence of the U-Shape of Bitcoin prices, strongly suggest that Defendants and their co-

conspirators were not printing USD₮s based on client inflows of U.S. dollars, but rather that

Defendants and their co-conspirators were artificially printing USD₮s to manipulate and

artificially fix, suppress, or stabilize the price of Bitcoin.




124
      Tether: Fiat Currencies on the Bitcoin Blockchain, supra note 10.
125
      See Aff. of Brian M. Whitehurst at ¶¶ 62-71, iFinex Inc., Index No. 450545/2019 (Apr. 25, 2019), NYSCEF No.
1.



                                                           40
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            C.       Bitfinex and Tether Failed to Maintain Sufficient U.S. Reserves

            117.     In 2018, the New York OAG commenced an investigation of Bitfinex and Tether.

On November 27, 2018, the New York OAG served investigative subpoenas on Bitfinex and

Tether alleging that Bitfinex and Tether lost approximately $851 million to a Panamanian entity

called Crypto Capital Corp. (“Crypto Capital”).

            118.     On April 25, 2019, the New York OAG revealed that Tether comingled client and

corporate funds and that approximately $851 million was unavailable.126 The Affirmation of

Brian M. Whitehurst alleges that in 2014, Bitfinex began utilizing Crypto Capital as one of their

“payment processors.”127         According to the Whitehurst Affirmation, by 2018, Bitfinex had

placed over $1 billion of comingled customer and corporate funds with Crypto Capital. By the

middle of 2018, Crypto Capital, which held all or nearly all of Bitfinex’s funds, disallowed

Bitfinex’s clients’ requests to withdrawal funds.128 By the middle of 2018, Bitfinex faced

extreme difficulty meeting even small client withdrawals129 because $851 million of funds held

at Crypto Capital were seized by governmental authorities in Portugal, Poland, and the United

States.130

            119.     According to the Whitehurst Affirmation, for example, in August 2018, a senior

executive at Bitfinex using the username Merlin (“Merlin”), believed to be Giancarlo

Devasini,131 wrote to their contact at Crypto Capital (“Oz”) acknowledging that Tether lacked


126
      Id. at ¶ 68.
127
      Id.
128
      Id. at ¶ 62.
129
      Id.
130
      Id. at ¶ 68.
131
   Aff. of Brian M. Whitehurst at Ex. E, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 86 (e-mail from Giancarlo Devasini noting that his “skype
handle is Merlinmagoo” and that his “telegram is @Merlinthewizard.”).



                                                        41
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access to sufficient money to honor client withdrawals. Consequently, Bitfinex faced extreme

difficulty honoring Bitfinex’s clients’ requests to liquidate USD₮ to U.S. dollars.

            Merlin. [15.08.18 11:46]
            Hey Oz, sorry to bother you every day, is there any way to move at least 100M to either
            [REDACTED]? We are seeing massive withdrawals and we are not able to face them
            anymore unless we can transfer some money out of Cryptocapital
            Merlin. [15.08.18 11:47]
            I understand some of the funds are being held by [REDACTED], but what about the rest?
            Merlin. [15.08.18 11:18]
            under normal circumstances I wouldn’t bother you (I never did so far) but this is a quite
            special situation and I need your help. thanks132

            120.     Similarly, in October 2018, Merlin again wrote to their contact at Crypto Capital

urging that Crypto Capital process withdrawals from Tether’s cash reserves and warning that the

situation “could be extremely dangerous for everybody” and that “BTC [Bitcoin] could tank

below 1k” if Crypto Capital and Bitfinex did not act quickly.133

            Merlin. [15.10.18 09:53]
            I have been telling you since a while
            Merlin. [15.10.18 09:53]
            too many withdrawals waiting for a long time
            Merlin [15.10.18 09:54]
            is there any way we can get money from you? Tether or any other form? Apart with
            cryptocapital we are running low in cash reserves
            Merlin [15.10.18 09:54]
            please help
            CCC [15.10.18 09:54]
            I know. We are following the banks we post as many as we can and let them process as
            much as possible according to them. Everytime [sic] we push them they push back with
            account closure without reason
            Merlin [15.10.18 09:55]
            dozens of people are now waiting for a withdrawal out of cryptocapital
            Merlin [15.10.18 10:01]
            I need to provide customers with precise answer at this point, can’t just kick the can a
            little more
            Merlin [15.10.18 10:02]
            the international I mean
            CCC [15.10.18 10:02]

132
      Id. at ¶ 63.
133
      Id.at ¶ 66.



                                                    42
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            I will keep you posted here
            CCC [15.10.18 10:02]
            On the process of all international payments.
            Merlin [15.10.18 10:02]
            please understand all this could be extremely dangerous for everybody, the entire crypto
            community
            Merlin [15.10.18 10:03]
            BTC could tank to below 1k if we don’t act quickly134

            121.     The above correspondence strongly evidences that Defendants knew that USD₮

printing and withdrawals moved in lockstep with the price of Bitcoin such that an increase in

USD₮ withdrawals would significantly reduce the price of Bitcoin. Merlin implored Crypto

Capital to process withdrawals, and noted that the situation “could be extremely dangerous for

everybody,” on October 15, 2018, when the price of Bitcoin was $6,721.59 per Bitcoin. Despite

this high price, a Bitfinex employee was concerned that if withdrawals of USD₮ were not timely

processed it could cause fear among market participants, potentially create a run on USD₮

withdrawal requests, and as a result, Bitcoin prices “could tank” approximately $5,721.59, or

85.1%, to under $1,000 per Bitcoin.135 Defendants’ monopolization of USD₮ printing and

USD₮’s dominance in Bitcoin ensured that Defendants controlled the price of Bitcoin through

USD₮ printing and withdrawals.

            122.     By early October 2018, numerous clients had reported the inability to withdraw

funds from Bitfinex, which raised concerns online that Bitfinex was close to insolvency.136 In

response, on October 7, 2018, Bitfinex released a notice to investors assuring them that Bitfinex

was not insolvent and that the rumors were “a targeted campaign based on nothing but

fiction.”137 Bitfinex’s notice further stated, “[b]oth fiat and cryptocurrency withdrawals are

134
      Id.
135
      Id.
136
      Id. at ¶ 64.
137
      Id. at ¶ 64.



                                                   43
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functioning as normal. Verified Bitfinex users can freely withdraw Euros, Japanese Yen, Pounds

Sterling and U.S. Dollars.           Complications continue to exist for us in the domain of fiat

transactions, as they do for most cryptocurrency-related organizations.”138

            123.     The following week Bitfinex released another notice to investors clarifying that,

“[a]ll cryptocurrency and fiat withdrawals are, and have been, processing as usual without the

slightest interference; [a]ll fiat (USD, GBP, JPY, EUR) withdrawals are processing, and have

been, as usual; [f]iat deposits have been temporarily paused for certain user groups.”139

            124.     The New York OAG asserts that these statements from Bitfinex were untrue

because documentation provided to the New York OAG demonstrates that during this time,

Bitfinex faced extreme delay and difficulty processing client withdrawals.140

            125.     Bitfinex’s financial difficulties and lack of U.S. dollar reserves continued through

at least the end of 2018. For example, on October 18, 2018, Merlin again implored Crypto

Capital to release funds noting that Bitfinex could not handle a relatively small withdrawal of $5

million. Merlin wrote to his contact at Crypto Capital, “the situation looks bad, we have more

than 500 withdrawals pending and they keep coming in.”141 Merlin further noted, “we have

about 400 small wires pending. [T]he total amount is only 5M [$5 million], but we have to send

them out quickly, people are enraged.”142 Merlin elaborated, “too much money is trapped with

you and we are currently walking on a very thin crust of ice.”143

138
   Aff. of Brian M. Whitehurst at Ex. H, at 2-3, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No.
450545/2019 (Apr. 25, 2019), NYSCEF No. 13.
139
   Aff. of Brian M. Whitehurst at Ex. I, at 2, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No.
450545/2019 (Apr. 25, 2019), NYSCEF No. 14.
140
  Aff. of Brian M. Whitehurst at ¶ 66, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(Apr. 25, 2019), NYSCEF No. 1.
141
      Id. at ¶ 67.
142
      Id.
143
      Id.



                                                       44
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            126.     The inability of Bitfinex to meet even $5 million in client withdrawals strongly

suggests that, contrary to Tether’s statements, Bitfinex did not maintain a one-to-one USD₮ to

U.S. dollar reserve. At no time did Bitfinex publicly disclose these serious financing and

withdrawal issues.

            127.     In an in-person meeting on February 21, 2019, counsel for Bitfinex and Tether

explained to the New York OAG that they were in the process of discussing a “line of credit” to

Bitfinex from Tether of $600 to $700 million on the reserve funds backing USD₮ in order to

make up for the inaccessible $850 million at Crypto Capital.144 On March 29, 2019, counsel for

Bitfinex and Tether informed the New York OAG that the “line of credit” transaction closed on

or about March 19, 2019.145 The total amount of the “line of credit” as of March 29, 2019, was

$700 million.146 As of July 2, 2019, Bitfinex still owed $600 million of the “line of credit” to

Tether.147

            128.     According to the Whitehurst Affirmation, counsel for Bitfinex and Tether

articulated no benefit to Tether and asserted that that there was no apparent benefit to Tether, or

holders of tether, from this transaction.148            Counsel for Bitfinex and Tether provided no

indication that the transaction would be disclosed to the public.149

            129.     The New York OAG has asserted that, despite Bitfinex’s and Tether’s claims that

every USD₮ was backed by one U.S. dollar in its bank account, Tether had completely depleted


144
      Id. at ¶ 73.
145
      Id. at ¶ 85.
146
      Id.
147
  Philip Rosenstein, Bitfinex Returns $100M to Tether Amid NY AG Proceeding, Law360 (July 2, 2019, 8:42 p.m.
EDT), https://www.law360.com/articles/1175142/bitfinex-returns-100m-to-tether-amid-ny-ag-proceeding.
148
  Aff. of Brian M. Whitehurst at ¶ 92, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
(Apr. 25, 2019), NYSCEF No. 1.
149
      Id. at ¶.73



                                                       45
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its USD reserves. The investigation also alleges that Bitfinex, which is owned and directed by

the same individuals as Tether, was strapped for cash due to its relationship with Crypto Capital.

Both of these allegations suggest that Defendants had the motivation to manipulate Bitcoin

during the Class Period.

           130.     In addition, during the Class Period, Tether invested some of its USD reserves

into Bitcoin. According to an attorney for Bitfinex, “Tether actually did invest in instruments

beyond cash and cash equivalents, including bitcoin, they bought bitcoin.”150 Similarly, Bitfinex

CFO Giancarlo Devasini admitted that he has “over 1.2 million tokens” with “the vast majority

of them on Bitfinex.”151 Furthermore, Bitfinex Chief Strategy Officer Philip Potter admitted to

“add[ing] to his position a little bit on the way down and sell[ing] a little bit on the way up.”152

Defendants’ investments in Bitcoin provided a strong motivation to manipulate Bitcoin prices

during the Class Period by front running purchases ahead of USD₮ issuances and front running

sales after USD₮ issuances.

           131.     Young’s analysis demonstrates that in months that Tether Defendants issued

USD₮, there were large, negative Bitcoin returns on the day preceding month-end as detailed

below in Figure 17. This strongly suggests that there were large liquidations of Bitcoin holdings

on the day immediately preceding month-end during the months of USD₮ issuances. Moreover,

as Professors Griffin and Shams noted,153 this observed pattern is consistent with Defendants

replenishing Tether reserves by month-end by selling Bitcoin. In addition, this effect is more

pronounced in months with larger USD₮ issuances.

150
   John Isige, Tether (USDT) admits to investing reserves in Bitcoin and “other assets,” FXStreet (May 22, 2018
11:31 a.m. GMT), https://www.fxstreet.com/cryptocurrencies/news/tether-usdt-admits-to-investing-reserves-in-
bitcoin-and-other-assets-201905221131.
151
      Bitfinex’ed, supra note 83.
152
      Coinspeaker Staff, supra note 81.
153
      Griffin & Shams, supra note 64, at 3-4.



                                                       46
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 Figure 17 – Monthly USD₮ Issuances vs. Daily Bitcoin Returns on Day Preceding Month-
                      End Between October 2015 and March 2018
                                           4%


                                           2%
  Daily Return, Day Preceding Month-End




                                           0%

                                                                                                              Regression R^2: 0.7
                                          -2%


                                          -4%


                                          -6%


                                          -8%


                                          -10%


                                          -12%
                                                 0          100,000   200,000   300,000   400,000       500,000     600,000    700,000   800,000   900,000
                                                                                          Total Monthly Issuance




III.                                                    ECONOMIC ANALYSIS SUPPORTS THE EXISTENCE OF DEFENDANTS’
                                                        MANIPULATION

                                                     132.   Young’s analysis demonstrates that Tether’s USD₮ issuances coincided with a

“U-shaped” pattern in Bitcoin prices, meaning that Bitcoin returns generally declined before

USD₮ issuance dates and improved immediately after issuances.154 This “U-shaped” pattern

strongly suggests that Defendants used USD₮s to stabilize and/or to reverse falling Bitcoin

prices between October 2014 and October 2019. Figures 18 and 19 below demonstrate that the

“U-shaped” results of Young’s analysis of Bitcoin prices prior to and after USD₮ issuance prices

are robust under a mean methodology.155


154
   According to a March 20, 2019, presentation from Bitwise Asset Management, Inc., a cryptocurrency
consultancy and investment management firm, to the U.S. Securities and Exchange Commission, a large proportion
of cryptocurrency trading volume amounts to “wash trading,” meaning that entities associated with the exchanges
are trading amongst themselves. To address issues of “wash trading,” Young’s economic analysis used the market
size and estimates for the Bitcoin market is sourced from exchange flagged as “clean” in the Bitwise report. See
Presentation to the U.S. Securities and Exchange Commission, Bitwise Asset Management (Mar. 19, 2019),
https://www.sec.gov/comments/sr-nysearca-2019-01/srnysearca201901-5164833-183434.pdf.
155
   In 2017, there were multiple weeks where Tether Limited had multiple USDT issuances, sometimes on the same
day. To ensure that the “before” and “after” periods are comparable across issuance dates, Young clustered
issuances that occurred within five (5) days of each other as a single issuance.



                                                                                                47
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 Figure 18 – Mean Bitcoin Returns Before and After Issuance Dates (October 2014 – May
                                         2018)




       133.   As demonstrated above in Figure 18, the mean return on Bitcoin was on a

decreasing trend in the days immediately preceding Tether Defendants’ USD₮ issuance.

However, the mean return on Bitcoin reversed and the trend increased in the days following

Tether Defendants’ USD₮ issuance. These results evidence the “U-shaped” pattern in Bitcoin

prices, demonstrating a declining mean in Bitcoin returns prior to USD₮ issuance dates and an

increasing mean in Bitcoin returns following issuances.

       134.   Table 1 below further summarizes all USD₮ issuance dates, Bitcoin’s returns

prior to and after the USD₮ issuance, and whether Bitcoin’s returns improved after the USD₮

issuance.




                                               48
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                            Table 1 – Bitcoin Returns After USD₮ Issuance

                     BTC Returns              BTC Returns              Return Im provem ent
Issuance Date
                5 Days Priorto Issuance   5 Days afterIssuance            AfterIssuance
 06/10/2014              -17.17%                 9.76%                          ✓
 18/05/2015              -1.79%                  2.46%                          ✓
 06/01/2016              0.32%                   4.50%                          ✓
 28/04/2016             -0.24%                   0.29%                          ✓
 12/07/2016              -4.38%                  2.24%                          ✓
 30/12/2016               8.31%                  20.13%                         ✓
  31/01/2017             2.09%                   5.87%                          ✓
 29/03/2017              0.82%                   9.98%                          ✓
 18/04/2017              -0.54%                  -0.37%                         ✓
 24/05/2017              7.90%                   18.10%                         ✓
 16/06/2017             -16.39%                   6.77%                         ✓
 24/06/2017              -7.83%                  -1.80%                         ✓
 10/07/2017              -7.10%                  17.75%                         ✓
 14/09/2017              -8.19%                  24.41%                         ✓
 28/10/2017              -3.79%                 23.04%                          ✓
  26/11/2017             17.63%                  61.63%                         ✓
 28/12/2017              -0.63%                   3.72%                         ✓
  14/01/2018            -2.30%                   8.45%                          ✓


        135.      The “U-shaped” pattern of Defendants’ manipulation is particularly striking with

respect to Tether’s first USD₮ issuance on October 6, 2014. In the five days prior to Tether’s

October 6, 2014 USD₮ issuance, Bitcoin prices fell 13.95%. However, in the five days after

Tether’s issuance, Bitcoin’s pricing trend reversed, and Bitcoin prices increased 9.76%. See

Figure 19 below.




                                                   49
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              Figure 19 – Bitcoin Prices Before and After October 6, 2014 Issuance




       136.     Similarly, the “U-shaped” pattern in Bitcoin as a result of Defendants’

manipulation is particularly striking with respect to Tether’s USD₮ issuance on January 6, 2016.

In the five days prior to Tether’s January 6, 2016 USD₮ issuance, Bitcoin prices fell 1.20%.

However, in the five days after Tether’s issuance, Bitcoin’s pricing trend reversed, and Bitcoin

prices increased 4.50%. See Figure 20 below.




                                               50
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  Figure 20 – Bitcoin Prices Before and After Large Flows of USD₮ from Bitfinex to U.S.
                              Exchanges on January 6, 2016




       137.   Defendants’ concerted actions and manipulation of Bitcoin prices are further

evident in Bitcoin’s daily closing price before and after Tether’s June 16, 2017 issuance. Figure

21 below demonstrates that the price of Bitcoin decreased approximately 14.86% in the five days

prior to Tether’s June 16, 2017 issuance. However, once Tether issued additional USD₮s on

June 16, 2017, the price of Bitcoin reversed and increased 9.06% over the following five days.




                                               51
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              Figure 21 – Bitcoin Prices Before and After June 16, 2017 Issuance




               A.     Economic Analysis of USD₮ Flows to U.S.-Based Cryptocurrency
                      Exchanges Evidences “U-Shaped” Pattern

       138.    An analysis of the flow of Tether’s newly issued USD₮s to the U.S.-based

cryptocurrency exchanges further evidences that Defendants employed USD₮ issuances and

flows to manipulate the price of Bitcoin and create a “U-shaped” pattern, thus enabling

Defendants to enjoy supra-competitive profits. In each of the examples below, Defendants

intentionally carried out their conspiracy with U.S.-based customers through U.S.-based

exchanges Bittrex and Poloniex. Moreover, Defendants affirmatively knew and intended their

manipulative and anticompetitive conduct to affect the price of Bitcoin traded in the United

States at the expense of Plaintiff and class members.

       139.    Specifically, Young analyzed the prices of Bitcoin in the seventy-two (72) hours

before and after the largest 5% of newly issued USD₮ flows from Bitfinex to Bittrex and

Poloniex. Figure 22 below reveals a “U-shaped” pattern on an intraday level across the sample,

consistent with the end-of-day results using the USD₮ issuance dates.




                                                52
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      Figure 22 – Normalized Average Bitcoin Intraday Prices Around Large Flows of USD₮
               from Bitfinex to U.S. exchanges between October 2014 and May 2018




           140.      The figure above provides strong economic evidence that Defendants, their co-

conspirators, and John Does 1-50 sought to manipulate the price of Bitcoin through timed USD₮

issuances and through transaction flow of USD₮ to Bittrex and Poloniex.

           141.      Moreover, an intraday analysis of Tether’s newly issued USD₮s and the

subsequent flow reveal at least 236 potentially manipulative flow events. Young developed an

algorithm capable of mapping transactions between intermediary wallets and U.S. exchanges on

the Tether blockchain. Using this model, Young identified large flows156 of USD₮ that followed

negative Bitcoin returns for the prior twenty-four (24) hours, which are subsequently followed by

positive Bitcoin returns (i.e., a U-shaped pattern) after the USD₮ flows. Table 2 below identifies

the largest individual USD₮ flows and the pre and post Bitcoin returns.




156
      For the model, Plaintiff defined a “large” flow as a transfer greater than 200 Bitcoin equivalent in USDT.



                                                            53
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              Table 2 - Reversal of Bitcoin Returns Following Large USD₮ Flows




       142.    In each example contained in Table 2, Defendants’ issuance of USD₮ flowed

directly to the United States, through Defendant Bitfinex to Defendants Bittrex and Poloniex. In

each example, Defendants’ issuance of USD₮ followed a period of negative Bitcoin returns;

however, immediately following Defendants’ issuance of USD₮, Bitcoin returns switched

positive. For example, in the twenty-four (24) hours prior to December 10, 2017, Bitcoin prices

declined approximately 11.5%. Defendants issued USD₮s equal to approximately 4,107 Bitcoin

on December 10, 2017, and these transactions flowed through Defendants Bittrex and Poloniex.

In the immediate twenty-four (24) hours after Defendants issuance, Bitcoin returned

approximately 20.5%. As a result of Defendants and their co-conspirators’ conduct, the price of

Bitcoin was artificially inflated in the days following December 10, 2017.

       143.    Similarly, in the twenty-four (24) hours prior to September 4, 2017, Bitcoin prices

declined approximately 5.6%. Defendants issued USD₮s equal to approximately 3,916 Bitcoin

on September 4, 2017, and these transactions flowed through Bittrex and Poloniex. In the

immediate twenty-four (24) hours after Defendants issuance, Bitcoin returned approximately

3.4%. As a result of Defendants and their co-conspirators conduct, the price of Bitcoin was

artificially inflated in the days following September 4, 2017.




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       144.       As demonstrated through this example, Defendants and their co-conspirators

intentionally directed their unlawful conduct at the United States at the expense of U.S.

counterparties.     By directing the issuances through U.S.-based cryptocurrency exchanges,

Defendants and their co-conspirators knew the consequences of their manipulation would be felt

in the United States.

       145.       In total, Young identified 236 large flow events on 115 days. Each example

contains the U-shaped pattern with negative Bitcoin returns in the immediate twenty-four hours

prior to the USD₮ issuance and Bitcoin returns positive immediately after the USD₮ issuance.

Table 3 below, sorted by the hourly flow size in Bitcoin-denominated USD₮, identifies the

USD₮ U-shaped issuances identified by Young’s algorithm.




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         Table 3 - U-Shaped Bitcoin Returns Following Large USD₮ Flows




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       146.   As a result of Defendants and their co-conspirators’ conduct, Bitcoin returns

improved after approximately 78% of all the USD₮ flow events as identified by Young’s model.

These results suggest that USD₮ issuances and flows are increasing demand for Bitcoin due to

the subsequent increased transactions on U.S.-based cryptocurrency exchanges.

       147.   Moreover, the Bitcoin returns across U.S.-based exchanges are highly correlated

such that manipulation of Bitcoin prices in one exchange affected the price of Bitcoin across



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competing exchanges.     Table 4 below demonstrates a strong statistical correlation in daily

Bitcoin returns between various U.S.-based exchanges between 2016 and 2018.

    Table 4 - Correlation in Daily Bitcoin Returns Between U.S.-Based Cryptocurrency
                  Exchanges Between January 2016 and December 2018




       148.    As illustrated in Table 4 above, there is approximately an 86% correlation

between a change in the price of Bitcoin on Bittrex and the change in the price of Bitcoin on

alternative exchanges, such as Coinbase and Gemini. The strong correlation in Bitcoin returns

means that Bitcoin prices run in parity, or lock-step, between the various exchanges. In other

words, any price movements in Bitcoin prices on Bittrex are immediately and correspondingly

reflected in Bitcoin prices on other exchanges.

       149.    Defendants’ manipulative and anticompetitive conduct, targeted at Bittrex and

Poloniex customers in the United States, had a corresponding and immediate impact on other

U.S.-based exchanges, such as Coinbase, Gemini, and Kraken. Defendants intentionally directed

their unlawful conduct at the United States, which enabled Defendants and their co-conspirators

to enjoy supra-competitive profits directly at the expense of U.S. market participants transacting

in Bitcoin on other U.S.-based cryptocurrency exchanges.

               B.     CFTC and DOJ Investigations

       150.    On November 20, 2018, the U.S. Department of Justice (“DOJ”) launched a

criminal investigation into Tether and Bitfinex, including whether the price of Bitcoin was being

manipulated.   Bloomberg reported that, according to three people familiar with the DOJ’s


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investigation, the DOJ “recently homed in on suspicions that a tangled web involving Bitcoin,

Tether and crypto exchange Bitfinex might have been used to illegally move prices.”157

            151.   Part of the DOJ’s investigation examines whether the dramatic rise in USD₮s

between 2016 and 2018 was “purely driven by actual demand, or was partially fanned on by

market tricks.”158 Prosecutors are also investigating whether Tether and/or Bitfinex employed

illegal strategies, such as spoofing.159 According to those familiar with the investigation, the

DOJ is examining how Tether issues new USD₮s and why those USD₮s predominantly enter the

Bitcoin market through Bitfinex.160

            152.   In addition to the DOJ investigation, Tether Limited and Bitfinex received

subpoenas from the U.S. Commodity Futures Trading Commission (“CFTC”) investigating the

relationship between Tether Limited and Bitfinex and the purported reserves.161

            153.   According to those familiar with the investigations, the DOJ and the CFTC are

coordinating their examinations.162




157
   Matt Robinson & Tom Schoenberg, Bitcoin-Rigging Criminal Probe Focused on Tie to Tether, Bloomberg (Nov.
20, 2018, 4:00 a.m. EST), https://www.bloomberg.com/news/articles/2018-11-20/bitcoin-rigging-criminal-probe-is-
said-to-focus-on-tie-to-tether.
158
      Id.
159
      Id.
160
      Id.
161
   Matthew Leising, U.S. Regulators Subpoena Crypto Exchange Bitfinex, Tether, Bloomberg (Jan. 30, 2018, 12:52
p.m. EST), https://www.bloomberg.com/news/articles/2018-01-30/crypto-exchange-bitfinex-tether-said-to-get-
subpoenaed-by-cftc.
162
      Robinson & Schoenberg, supra note 156.



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IV.             MANIPULATION OF BITCOIN FUTURES

           154.    Bitcoin futures have traded on the CME since December 2017.163 Similarly,

Bitcoin futures have traded on the Cboe since December 2017.164 Traders of these contracts,

which are important tools used by Bitcoin traders to hedge and manage risks associated with

Bitcoin, were harmed by Defendants’ monopolization and manipulation, which was directed at

U.S.-based investors through Bittrex and Poloniex.

           A.      Bitcoin Futures Market

           155.    A Bitcoin Futures contract is a standardized agreement to purchase or sell a

participate asset at a predetermined date. Trading in CME Bitcoin Futures is subject to the rules

and regulations of the CME, namely Chapter 350 (Bitcoin futures) of the CME Rulebook.165

CME Bitcoin Futures are traded on the CME Globex electronic trading platform, and are cleared

through CME ClearPort.166 Similarly, trading in Cboe Bitcoin Futures is subject to the rules and

regulations of the Cboe, namely Chapter 13 (Cboe Bitcoin (USD) Futures Contract

Specifications) of the Cboe Rulebook.167 Cboe Bitcoin Futures traded on the CBOEdirect all-

electronic trading platform and were cleared by The Options Clearing Corporation.




163
   CME Bitcoin Futures Frequently Asked Questions, CME Group (Sept. 24, 2019),
https://www.cmegroup.com/education/bitcoin/cme-bitcoin-futures-frequently-asked-questions.html.
164
   Evelyn Cheng, Cboe announces bitcoin futures to start trading Sunday, CNBC (Dec. 4, 2017, 8:33 a.m. EST),
https://www.cnbc.com/2017/12/04/cboe-announces-it-will-launch-bitcoin-futures-on-dec-10.html.
165
   CME Rulebook, Chapter 350, CME Group,
https://www.cmegroup.com/content/dam/cmegroup/rulebook/CME/IV/350/350.pdf (last visited Oct. 8, 2019).
166
      CME Submission No. 17-417, supra note 11.
167
   Cboe Futures Exchange, LLC Rulebook, Cboe Futures Exchange, LLC, Chapter 13 at 261,
https://cfe.cboe.com/publish/cferulebook/cfe-rule-book.pdf (last updated Aug. 16, 2019).



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                        1. CME Bitcoin Futures

            156.    Chapter 350 of the CME Rulebook sets forth the rules for trading in CME Bitcoin

Futures, including the contract specifications, trading specifications, and settlement

procedures.168 The CME did not list options on CME Bitcoin Futures during the Class Period.169

            157.    Each CME Bitcoin Futures contract is valued at 5 Bitcoins.170 The minimum tick

size of the CME Bitcoin Futures contract is $5.00 per bitcoin, or $25.00 per contract.171

            158.    CME Bitcoin Futures contracts are quarterly and trade for the following contract

months: March, June, September, and December.172 During the Class Period, the CME listed

four CME Bitcoin Futures contracts at a time – two consecutive quarters and the nearest two

serial months.173 For example, in July 2019, the CME listed CME Bitcoin Futures contracts for

July 2019, August 2019, September 2019, and December 2019. Trading of CME Bitcoin Futures

contracts continues until 4:00 p.m. London time on the last Friday of each contract month.174

            159.    CME Bitcoin Futures are “cash” settled, meaning that contracts are financially

settled based on the final mark-to-market by reference to the final settlement price.175 The final

settlement price is equal to the CME CF Bitcoin Reference Rate (“BRR”). The BRR calculation

is based on the Bitcoin trades between 3:00 p.m. and 4:00 p.m. London time reported by the




168
      CME Rulebook, Chapter 350, supra note 164.
169
      CME Bitcoin Futures Frequently Asked Questions, supra note 162.
170
      CME Rulebook, Chapter 350, supra note 164.
171
      Id.
172
   Bitcoin Futures Contract Specs, CME Group, https://www.cmegroup.com/trading/equity-index/us-
index/bitcoin_contract_specifications.html (last visited Nov. 21, 2019).
173
      Id.
174
      CME Rulebook, Chapter 350, supra note 162.
175
      CME Submission No. 17-417, supra note 11.



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following contributing constituent exchanges: Bitstamp, GDAX, itBit, and Kraken.176 The CME

describes the methodology of the BBR as follows:

            The [BRR] is calculated based on one hour of BTC:USD trades per day from 3:00
            p.m. to 4:00 p.m. London time … (1) All Relevant Transactions are added to a
            joint list, recording the trade price and size for each transaction. (2) the list is
            partitioned into 12 equally-sized time intervals of 5 minutes each. (3) For each
            partition separately, the volume-weighted median trade price is calculated from
            trades submitted by each exchange. (4) The BRR is then calculated as the equally-
            weighted average of all partitions.177

            160.    In 2018, the first full year of trading, market participants traded approximately

$31 billion worth of CME Bitcoin Futures contracts. Figure 23 below depicts the trading volume

and price of CME Bitcoin Futures from December 2017 through May 2019.

                          Figure 23 - CME Futures Price and Trading Volume




            161.    Similarly, since launching CME Bitcoin Futures, the daily open interest has

increased dramatically, which the CME stated “shows growing signs of institutional interest” in




176
      Id.
177
      CME Bitcoin Futures Frequently Asked Questions, supra note 162, at 5.



                                                         66
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Bitcoin futures.178 According to the CME, open interest in CME Bitcoin Futures hit a new

record on June 17, 2019. Figure 24 below illustrates the steady linear increase in CME Bitcoin

Futures open interest.

                    Figure 24 - CME Bitcoin Futures Daily Open Interest Since Launch




                      2.     Cboe Bitcoin Futures

            162.      Chapter 13 of the Cboe Futures Exchange, LLC (“Cboe”) Rulebook sets forth the

rules for trading in Cboe Bitcoin Futures (“XBT”), including the contract specifications, trading

specifications, and settlement procedures.179 The Cboe does not list options on Cboe Bitcoin

Futures.

            163.      Each Cboe Bitcoin Futures contract is 1 Bitcoin.180 The minimum tick size of the

Cboe Bitcoin Futures contract is 5.00 points USD/XBT, or $5.00 per contract.181


178
   CME Group (@CMEGroup), Twitter, (June 18, 2019, 12:09 p.m.),
https://twitter.com/CMEGroup/status/1141015074062110721.
179
      Cboe Futures Exchange, LLC Rulebook, supra note 166, at 261.
180
      Id.
181
      Id. at 264.



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            164.       During the Class Period, the Cboe offered three near-term serial months and up to

three months on the March quarterly contract. 182 For example, in January 2019, the Cboe listed

Cboe Bitcoin Futures contracts for January 2019, February 2019, March 2019, and April 2019.183

            165.       Trading of Cboe Bitcoin Futures contracts continues until 2:45 p.m. Chicago time

on the final settlement date.184 The final settlement date for the serial and quarterly contracts

was two business days prior to the third Friday of the contract month.185

            166.       Cboe Bitcoin Futures are “cash” settled, meaning that contracts are financially

settled based on the final mark-to-market by reference to the final settlement price.186 The final

settlement price of Cboe Bitcoin Futures is calculated based on the U.S. dollar auction price of

bitcoin on the Gemini Exchange.187 Specifically, the final settlement is based on Bitcoin prices,

rounded to the nearest penny, at 4:00 p.m. Eastern time on the Gemini Exchange on the final

settlement date.188

            167.       In 2018, the first full year of trading, market participants traded approximately $9

billion worth of Cboe Bitcoin Futures contracts. Figure 25 below depicts the trading volume and

price of Cboe Bitcoin Futures from December 2017 through May 2019.




182
      Id. at 261.
183
      Id.
184
      Id.
185
      Id.
186
      Id. at 267-68.
187
  Andrew Lowenthal, Cboe Futures Exchange, LLC Product Certification for Bitcoin Futures Submission Number
CFE-2017-18, Cboe, at 1 (Dec. 1, 2017), http://cfe.cboe.com/publish/CFErulefilings/SR-CFE-2017-018.pdf.
188
      Id.



                                                        68
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                       Figure 25 - Cboe Futures Price and Trading Volume




        168.     In March 2019, the Cboe discontinued Cboe Bitcoin Futures indicating that they

would not issue additional Cboe Bitcoin Futures contracts after June 2019.189

        B.       Bitcoin Futures Prices are Inextricably Linked to the Price of Spot Bitcoin

        169.     The price of Bitcoin futures run in parity, or lockstep, with the spot price of

Bitcoin traded on various Bitcoin exchanges.               Changes in the spot price of Bitcoin are

immediately and correspondingly reflected in the price of Bitcoin futures. Consequently, any

manipulation of Bitcoin will invariably result in a direct corresponding manipulation in the price

of Bitcoin futures.




189
   Alexander Osipovich, Cboe Abandons Bitcoin Futures, Wall Street Journal, (March 18, 2019, 9:00 a.m. ET)
https://www.wsj.com/articles/cboe-abandons-bitcoin-futures-11552914001.



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       170.    Young’s regression analysis demonstrates a strong, statistically significant

relationship between changes in the spot price of Bitcoin and the front month CME and Cboe

Bitcoin futures contracts. Specifically, Figures 26 and 27 below depict the lockstep relationship

between the prices of the front month Cboe Bitcoin Futures contract and Bitcoin from December

2017 through April 2019. The analysis below demonstrates that Cboe Bitcoin front-month

Futures contracts and Bitcoin are highly correlated, with a correlation coefficient generally

exceeding 90%.

               Figure 26 - Correlation Between Bitcoin Spot and Cboe Futures




       171.    Young’s analysis of the returns on Cboe futures and Bitcoin further demonstrates

that Cboe futures and Bitcoin are highly correlated, with a correlation coefficient of 89%.




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           Figure 27 - Correlation Between Returns on Bitcoin and Cboe Futures




       172.    In addition, Figures 28 and 29 below depict the lockstep relationship between the

prices of the front month CME Bitcoin Futures contract and Bitcoin from December 2017

through April 2019. The analysis below demonstrates that CME Bitcoin Futures contracts and

Bitcoin are highly correlated with a correlation coefficient generally exceeding 90%.

              Figure 28 - Correlation Between Bitcoin Spot and CME Futures




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            173.    Young’s analysis of the returns on CME Bitcoin Futures and Bitcoin further

demonstrates that CME Bitcoin Futures and Bitcoin are highly correlated, with a correlation

coefficient of 87%.

               Figure 29 - Correlation Between Returns on Bitcoin and Cboe Futures




            174.    Moreover, the CME’s submission to the CFTC asserted, “[s]tatistical analysis

indicates that the BRR accurately reflects the underlying spot market.”190 Further, according to

the CME, “[t]he BRR reflects the value of one bitcoin in U.S. dollars.” As of December 1, 2017,

the CME largest variation of the CME Bitcoin Futures daily settlement to the constituent

exchanges’ Bitcoin price has been 2.5%.191 In other words, according to the CME, the CME

Bitcoin Futures daily settlement price has at least a 97.5% lockstep price correlation with the

underlying constituent exchanges’ price of Bitcoin. The CME further acknowledges that market




190
      CME Submission No. 17-417, supra note 11, at 5.
191
      Id.



                                                        72
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participants “can hedge Bitcoin exposure or harness its performance” using CME Bitcoin

Futures.192

            175.    Indeed, the Cboe’s submission to the CFTC asserted that Cboe Bitcoin Futures

contracts could be used to hedge Bitcoin.193 The Cboe stated, “XBT futures could be used by a

number of different groups for commercial purposes, including by bitcoin miners to hedge

production costs, bitcoin merchant processors to hedge inventories, merchants that accept bitcoin

to hedge bitcoin inventories, and holders of bitcoin that wish to hedge their bitcoin holdings.”194

            176.    The inextricable link and lockstep pricing between Bitcoin futures and Bitcoin

means any manipulation of the price of Bitcoin in either the spot or futures market by Defendants

invariably distorts both the spot and futures market. Manipulation by Defendants in one market

is quickly transmitted to the other market, resulting in artificial pricing in both.

            C.      Defendants Manipulated Bitcoin Futures

            177.    The specifics of Defendants’ Bitcoin futures trading activity are not public

information since trading on the CME and Cboe is anonymous. Defendants do not publicly

disclose their specific trading activity; however, this information can be obtained through

discovery from Defendants and third parties such as the CME and Cboe.

            178.    Nevertheless, Young’s analysis of Tether’s issuances strongly suggests that

Defendants, their co-conspirators, and John Does 1-50 monopolization and manipulation had an

immediate and corresponding impact on CME Bitcoin Futures and Cboe Bitcoin Futures

settlements. Specifically, Young’s analysis of USD₮ issuances demonstrates that same “U-

shaped” pattern in CME Bitcoin Futures and Cboe Bitcoin Futures prices, meaning that CME

192
    Now Available: Bitcoin Futures, CME Group, https://www.cmegroup.com/trading/bitcoin-futures.html (last
visited Oct. 8, 2019).
193
      Lowenthal, supra note 186, at 4.
194
      Id.



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Bitcoin Futures and Cboe Bitcoin Futures returns generally declined before USD₮ issuance dates

and improved immediately after issuances.     This “U-shaped” pattern strongly suggest that

Defendants used USD₮ to stabilize and/or to reverse falling Bitcoin prices between October

2014 and May 2018. Figures 30 and 31 below demonstrate that the “U-shaped” results of

Young’s analysis of CME Bitcoin Futures prices prior to and after USD₮ issuance prices are

robust under a mean or median methodology.

       Figure 30 – Median CME Bitcoin Futures Returns Before and After Issuance Dates
                             (December 2017 – August 2019)




       179.   As illustrated above in Figure 30, the median price return prior to a USD₮

issuance is distinctly negative, meaning that CME Bitcoin Futures prices declined in the prior

three days of a USD₮ issuance. However, on the day that Tether Defendants issue USD₮s, the

pricing trend of CME Bitcoin Futures reverses from negative to positive and the median CME

Bitcoin Futures prices increases. In the days following Tether Defendants’ issuance of USD₮,

the median CME Bitcoin Futures prices continued to decline.




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         Figure 31 – Mean CME Bitcoin Futures Returns Before and After Issuance Dates
                              (December 2017 – August 2019)




       180.    As illustrated above in Figure 31, the mean price return prior to a USD₮ issuance

is distinctly negative, meaning that CME Bitcoin Futures prices declined in the prior five days of

a USD₮ issuance. However, on the day that Tether Defendants issue USD₮s, the pricing trend

of CME Bitcoin Futures reverses from negative to positive and the mean CME Bitcoin Futures

prices increases. In the days following Tether Defendants’ issuance of USD₮, the mean CME

Bitcoin Futures prices continued to decline.

       181.    Figure 32 below demonstrate that the “U-shaped” results of Young’s analysis of

Cboe Bitcoin Futures prices prior to and after USD₮ issuance prices are robust under a median

methodology.




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        Figure 32 – Median Cboe Bitcoin Futures Returns Before and After Issuance Dates
                               (December 2017 – August 2019)




        182.   As illustrated above in Figure 32, the median price return prior to a USD₮

issuance is distinctly negative, meaning that Cboe Bitcoin Futures prices declined in the prior

days of a USD₮ issuance. However, on the day that Tether Defendants issue USD₮s, the pricing

trend of Cboe Bitcoin Futures reverses from negative to positive and the median Cboe Bitcoin

Futures prices increases. In the days following Tether Defendants’ issuance of USD₮, the

median Cboe Bitcoin Futures prices continued to decline.

        183.   Since the underlying commodity to CME and Cboe Bitcoin futures is inextricably

linked to the spot price of Bitcoin, Defendants necessarily and directly caused prices of the CME

and Cboe Bitcoin futures to be artificial. For example, Defendants’ concerted actions and

manipulation of Bitcoin prices are further evident in the change in prices in CME Bitcoin Futures

and Cboe Bitcoin Futures prior to and after USD₮ issuances. Prior to Tether’s USD₮ issuance

on December 28, 2017, the price of CME Bitcoin Futures and Cboe Bitcoin Futures declined;

however, after Tether’s USD₮ issuance, Bitcoin futures prices increased over the following five

days.



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  Figure 33 – Bitcoin Futures Prices Before and After December 28, 2017 USD₮ Issuance




        184.   Defendants and their co-conspirators’ concerted actions and manipulation were

also evident prior in the price changes prior to and after Tether’s USD₮ issuance. Prior to

Tether’s January 22, 2018 USD₮ issuance, CME Bitcoin Futures and Cboe Bitcoin Futures

declined from approximately $14,000 per contract to approximately $10,500 per contract for an

approximately 25% decline. However, after Tether’s USD₮ issuance, the price of CME Bitcoin

Futures and Cboe Bitcoin Futures contracts stabilized and began to increase in the following

days.




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   Figure 34 – Bitcoin Futures Prices Before and After January 22, 2018 USD₮ Issuance




        185.    As a result of the significant correlation between Bitcoin and the CME and Cboe

Bitcoin Futures, Defendants and their co-conspirators’ manipulative conduct caused the prices of

the CME and Cboe Bitcoin Futures to be artificial, which in turn harmed class members that sold

at artificially low prices or purchased at artificially high prices.

                                      RELEVANT MARKET

        186.    The relevant market in this case is the Bitcoin market, which comprises: (1) the

Bitcoin market; and (2) CME Bitcoin Futures, Cboe Bitcoin Futures, and any other Bitcoin

derivatives traded on a US-based futures exchange.

                                CLASS ACTION ALLEGATIONS

        187.    Plaintiff brings this action under Rules 23(a) and (b) of the Federal Rules of Civil

Procedure on behalf of himself and all members of the following class:

        All persons, corporations, and other legal entities who transacted in (1) Bitcoin or
        (2) Bitcoin futures traded on the CME or Cboe, and made these transactions
        between October 1, 2014 and Present (“Class Period”). Excluded from the Class
        are Defendants, officers, directors, or employees of any Defendant; any entity in



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        which any Defendant has a controlling interest; any affiliate, legal representative,
        heir, assign, parent, subsidiary, or co-conspirator of any Defendant.

        188.   The members of the Class are so numerous and geographically dispersed that

joinder is impracticable. There are at least hundreds of individuals and entities that transacted in

Bitcoin and/or Bitcoin futures during the Class Period at prices that were artificially impacted by

Defendants’ wrongful conduct.       While the exact number of class members is unknown to

Plaintiff, members of the Class are ascertainable from readily identifiable information and

records in the possession of the CME, Cboe, or via third party exchanges.

        189.   Plaintiff’s claims are typical of the claims of the Class members. Plaintiff and

members of the Class were damaged by the same wrongful conduct of Defendants.

        190.   Plaintiff will fairly and adequately protect and represent the interests of members

of the Class. The interests of Plaintiff are coincidental with, and not antagonistic to, those of

members of the Class.       Plaintiff and all members of the Class are similarly affected by

Defendants’ course of conduct.

        191.   Plaintiff is represented by sophisticated class action counsel with significant

experience in the prosecution and leadership of complex antitrust and commodities manipulation

litigation.

        192.   There are questions of law and fact common to all Class members, which

predominate over questions that may affect only individual Class members. Questions of law

and fact common to Class members include, but are not limited to:

               a.      whether Defendants and their co-conspirators engaged in a combination

                       and conspiracy to fix, lower, maintain, stabilize and/or otherwise

                       manipulate Bitcoin;




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    b.    whether Defendants and their co-conspirators engaged in a combination

          and conspiracy to fix, lower, maintain, stabilize and/or otherwise

          manipulate Bitcoin futures;

    c.    the nature and duration of Defendants’ manipulation of USD₮, Bitcoin,

          and Bitcoin futures in furtherance of the conspiracy;

    d.    the identity of the participants of the alleged conspiracy;

    e.    whether Defendants’ manipulation of Bitcoin injected artificial prices into

          Bitcoin futures that traded on the CME and Cboe;

    f.    whether Defendants’ alleged conspiracy violated federal antitrust laws;

    g.    whether Defendants’ conduct violated Sections 2 of the Sherman Act and

          Section 4 of the Clayton Act;

    h.    whether Defendants’ conduct violated Sections 6(c)(3), 9(a) and 22 of the

          CEA;

    i.    whether Defendants’ conduct violated Sections 6(c)(1) and 22 of the CEA;

    j.    whether Defendants acted to aid and abet violations of the CEA;

    k.    whether John Doe Defendants’ unlawful conduct caused cognizable legal

          injury under the CEA;

    l.    whether Defendants’ unlawful conduct caused Plaintiffs and Class

          members to suffer injury;

    m.    whether Defendants and their co-conspirators fraudulently concealed their

          misconduct from Plaintiff and Class members; and

    n.    the appropriate class-wide measure of relief for the Defendants’ violations

          of the CEA and antitrust laws.




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          193.   Class action treatment is a superior method for the fair and efficient adjudication

of this controversy because, among other things, such treatment will ensure that large numbers of

similarly situated entities and individuals can prosecute their common claims in a single forum

simultaneously, efficiently, and without the duplication of effort and expense that numerous

individual actions would engender. The benefits of proceeding through the class mechanism will

also provide injured entities and individuals with a method for obtaining redress for claims that

might not be practicable to pursue individually.

          194.   The prosecution of separate actions by individual members of the Class would

create a risk of inconsistent or varying adjudication, establishing incompatible standards of

conduct for Defendants.      Plaintiff is unaware of any special difficulty that is likely to be

encountered in the management of this action that would preclude its maintenance as a class

action.

          195.   Plaintiff has defined the Class based on currently available information and

expressly reserves the right to amend the definition of the Class, including, without limitation,

the length of the Class Period.

                               FRAUDULENT CONCEALMENT

          196.   During the Class Period, Defendants actively, fraudulently, and effectively

concealed their misconduct and manipulation of tether, Bitcoin, and Bitcoin futures, as alleged

herein, from Plaintiff and members of the Class. Defendants’ conspiracy was inherently self-

concealing and relied on secrecy for its successful operation.

          197.   Had the public learned that Defendants printed USD₮s, self-traded, had

insufficient reserves, could not withdraw, were in debt, created a Bitfinex loan to Defendants,

and timed USD₮ issuances and Bitcoin transactions to artificially fix, depress, suppress, or




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stabilize the price of Bitcoin, Defendants’ conspiracy would not have continued for as long as it

did.

           198.     Consequently, Plaintiff could not, and thus did not, learn about Defendants’

anticompetitive and manipulative conduct until recently.

           199.     Reasonable due diligence could not have uncovered Defendants and their co-

conspirators’ manipulative conspiracy because of the opaque nature of Defendants’ reserves and

Defendants’ unlawful activities were inherently self-concealing.

           200.     Prior to March 2019, Tether repeatedly rejected concerns raised by market

participants that Tether was not fully backed by a one-to-one reserve. In response to rising

concerns in 2017 from market participants that Tether failed to maintain a one-to-one reserve for

USD₮s, Tether commissioned a report from the audit firm Friedman LLP confirming that Tether

maintained a one-to-one reserve.195 These findings, which did not constitute an official audit,

could have been interpreted by market participants as a signal that Defendants maintained a one-

to-one reserve, and thus Defendants were not engaging in extraordinary issuances of USD₮s.

           201.     As late as February 2019, Defendants continued to maintain that “[a]t any given

time the balance of fiat currency held in our reserves will be equal to (or greater than) the

number of tethers in circulation.”196 Similarly, as late as February 19, 2019, Tether’s own

website proclaimed that USD₮ is “100% Backed” stating, “[e]very tether is always backed 1-to-

1, by traditional currency held in our reserves. So 1 USD₮ is always equivalent to 1 USD.”197

Defendants’ repeated assurance that Tether maintained a one-to-one reserve for USD₮s provided




195
      Memorandum Regarding Consulting Services Performed, supra note 110.
196
      Tether: Fiat currencies on the Bitcoin Blockchain, supra note 10.
197
      Tether, WaybackMachine (Feb. 19, 2019), http://web.archive.org/web/20190219054619/https:/tether.to/.



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further (incorrect) assurances to Plaintiff and class members that the concerns expressed by some

market participants were unfounded.

        202.     On October 15, 2018, amid trading volatility and concerns about whether

Defendants maintained sufficient reserves to maintain a one-to-one ratio, Leonardo Real, the

Chief Compliance Officer of Tether, released a statement defending Tether Limited’s reserves:

        Tether is the leading provider of tokenized fiat currencies and is listed on many
        exchanges worldwide. We would like to reiterate that although markets have
        shown temporary fluctuations in price, all USD₮ in circulation are sufficiently
        backed by U.S. dollars (USD) and that assets have always exceeded liabilities. In
        June 2018, a report from Freeh Sporkin & Sullivan, LLP (FSS), based on a
        random date balance inspection and a full review of relevant documentation of
        bank accounts, confirmed that all Tethers in circulation as of that date were
        indeed fully backed by USD reserves.198

        203.     The results of the report from Freeh Sporkin & Sullivan, LLP was published to

market participants on June 20, 2018, and was available to all Bitfinex users including those in

New York. Like many of the consultants Defendants employed to reassure U.S. investors, Freeh

Sporkin & Sullivan, LLP is a U.S.-based law firm made up of three former federal judges. The

report was designed to instill confidence in U.S investors.

        204.     On November 1, 2018, Tether Limited announced that it had established a

banking relationship with Deltec Bank & Trust Limited (“Deltec”).199                         To further squash

concerns that Tether failed to maintain a one-to-one reserve, Deltec sent Tether Limited a letter

confirming “that, at the close of business on October 31, 2018, the portfolio cash value of your




198
   Omkar Godbole, Price of ‘Stable’ Cryptocurrency Tether Tanks to 18-Month Low, Coindesk (Oct. 16, 2018),
https://www.coindesk.com/price-of-tether-stablecoin-tanks-to-18-month-low.
199
   Tether Banking Relationship Announced, Tether, https://tether.to/tether-banking-relationship-announced/ (last
visited Nov. 21, 2019).



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[Tether Limited] account with our bank was US$1,831,322,828.”200 Tether Limited posted

Deltec’s letter, dated November 1, 2018, on Tether’s website.201

            205.    On December 18, 2018, Bloomberg News defended Tether’s reserves releasing an

article stating that Bloomberg News reviewed four separate months of bank statements provided

by Tether evidencing that Tether maintained a one-to-one reserve. Bloomberg News wrote,

“[f]or example, one statement shows $2.2 billion was in Tether’s account at Puerto Rico’s Noble

Bank Ltd. on Jan. 31. That same day, 2.195 billion Tethers existed, according to data compiled

by Coinmarketcap.com.”202             Bloomberg News further stressed the validity of the banking

statements noting, “[t]he statements were provided by someone with access to the company’s

records, and a government official confirmed their veracity.”203 The article further noted that

fears of skeptics, that Tether failed to maintain a one-to-one reserve, “may be unfounded.”204

            206.    After all these statements defending Defendants’ U.S. dollar reserves as sufficient

to maintain a one-to-one reserve, a person of ordinary intelligence would have believed that

Defendants maintained a one-to-one reserve and were not engaging in any additional issuances

of USD₮s or manipulation surrounding the timing the USD₮ issuances.                               There was no

information to the contrary until March 2019 when Tether Limited amended its prior description

of USD₮ to state that USD₮ is “backed by our reserves.”205 On April 30, 2019, Tether Limited




200
   Letter from Deltec Bank & Trust Limited to Tether Limited, Tether (Nov. 1, 2018), https://tether.to/wp-
content/uploads/2018/11/Tether-Letter.pdf.
201
      Tether Banking Relationship Announced, supra note 198.
202
    Matthew Leising, Crypto-Mystery Clues Suggest Tether Has the Billions it Promised, Bloomberg News (Dec. 18,
2018), https://www.bloomberg.com/amp/news/articles/2018-12-18/crypto-mystery-clues-suggest-tether-has-the-
billions-it-promised.
203
      Id.
204
      Id.
205
      FAQs, supra note 18.



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disclosed through its counsel that Tether had backed only 74% of its then-outstanding $2.8

billion USD₮.206

         207.     Defendants also fraudulently concealed their misconduct from Plaintiff, the Class,

regulators, and the public through their own affirmative acts, including, among other things:

(i) continually representing to maintain a one-to-one U.S. dollar reserve to USD₮s, thus

misleading the public into believing that Defendants were not artificially printing USD₮s;

(ii) maintaining the secrecy of Tether’s issuances; and (iii) avoiding any discussion in public of

the USD₮s issuances, Defendants’ Bitcoin holdings, or Defendants’ proprietary transactions.

         208.     As a result of Defendants’ fraudulent concealment, Plaintiff and the Class were

not aware of Defendants’ misconduct and were prevented from learning of the facts necessary to

commence an action against Defendants for the wrongful conduct alleged in this Complaint until

regulators publicly acknowledged their investigations of Defendants. The facts necessary for

Plaintiff to formulate the basis of a complaint and satisfy applicable pleading standards are

within the exclusive control of Defendants, their co-conspirators, and the governmental

regulatory authorities investigating the wrongful conduct alleged herein.

         209.     Plaintiff and members of the Class have acted diligently in seeking to bring their

claims promptly. Because of Defendants’ active steps, including fraudulent concealment of their

conspiracy and the wrongful conduct alleged herein, Plaintiff asserts that the applicable statutes

of limitations on Plaintiff’s claims were tolled. Defendants are also equitably estopped from

asserting any statute of limitations defense.

         210.     It was only after Young plaintiffs conducted their own sophisticated analysis, and

after Tether Limited’s April 30, 2019 disclosure that Tether backed only 74% of reserves and

206
   Aff. of Stuart Hoegner at ¶ 33, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019 (Apr.
30, 2019), NYSCEF No. 24.



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engaged in a fractional reserve system, that a person of ordinary intelligence would believe that

Defendants were engaging in monopolization and manipulation of Bitcoin. Given the multitude

of statements in 2017 and 2018, Plaintiff and class members had no reason to suspect – at least

until the April 30, 2019, disclosure through Tether Limited’s counsel – that Defendants and their

co-conspirators were knowingly employing a fractional reserve system, using USD₮s issuances

and trading to manipulate Bitcoin, and artificially impacting the price of CME and Cboe Bitcoin

Futures contracts.    Indeed, as a result of Defendants’ fraudulent concealment of pertinent

information, there were no facts prior to April 30, 2019 to put Plaintiff and the Class on inquiry

notice that a conspiracy to manipulation Bitcoin existed.

       211.    Due to Defendants’ fraudulent concealment of the conspiracy, any statute of

limitations affecting or limiting the rights of action by Plaintiff or class members was tolled until

April 30, 2019.

       212.    The Defendants are equitably estopped from asserting that any otherwise

applicable period of limitations has run.

                                     CLAIMS FOR RELIEF

                               FIRST CLAIM FOR RELIEF
                     VIOLATION OF THE SHERMAN ACT, 15 U.S.C. § 2
                         (Against all Defendants and John Does 1-50)

       213.    Plaintiff incorporates the allegations in this Complaint by reference and reallege

each preceding and succeeding paragraph as though fully set forth herein.

       214.    In violation of Section 2 of the Sherman Act and Section 4 of the Clayton Act,

during the Class Period, Defendants monopolized and conspired to monopolize the Bitcoin

market.




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       215.    During the Class Period, Defendants engaged in excess issuances of USD₮,

which were directed at U.S.-based traders through U.S.-based exchanges Bittrex and Poloniex

and harmed futures traders on US-based exchanges. As major market participants, Defendants,

through USD₮, maintained a near-monopoly on trading with Bitcoin.

       216.    Defendants and their un-named co-conspirators engaged in continued

manipulation, understanding and conspiracy in an unreasonable and unlawful restraint of trade to

allocate the market for, and artificially fix, depress, suppress, or stabilize the price of Bitcoin.

This conduct had the effect of manipulating the prices of Bitcoin and Bitcoin futures contracts

traded on the CME and CBOE.

       217.    Approximately 70.00% of all total monthly Bitcoin volume that traded into fiat or

stablecoin was executed using USD₮. At all times, Defendants controlled the issuances, timing,

and flow of issuances of USD₮. The conduct consisted of a concerted effort between and among

Defendants in furtherance of which they created artificial prices for Bitcoin and Bitcoin futures.

       218.    Defendants used their market power to artificially fix, suppress, or stabilize the

price of Bitcoin on U.S.-based cryptocurrency exchanges which also manipulated Bitcoin prices

on domestic futures exchanges.

       219.    Defendants’ conduct and its resulting impact on Bitcoin market occurred in or

affected interstate and international commerce.

       220.    The anticompetitive effects of Defendants’ conduct far outweighs any ostensible

competitive benefits or justification.

       221.    As a proximate result of Defendants and their un-named co-conspirators’

anticompetitive conduct, Plaintiff and the Class have suffered injury to their business and

property throughout the Class Period. Plaintiff and members of the Class that traded Bitcoin




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futures and other derivatives linked to the price of Bitcoin during the Class Period were deprived

on normal, competitive trading patterns, and instead, were subjected to artificially determined

prices as a result of Defendants’ unlawful and manipulative conduct.

       222.    Plaintiff and members of the Class are entitled to treble damages for Defendants’

violations of the Sherman Act alleged herein, and a permanent injunction restraining Defendants

and their un-named co-conspirators preventing and restraining further violations.

                       SECOND CLAIM FOR RELIEF
    MANIPULATION IN VIOLATION OF THE COMMODITY EXCHANGE ACT,
                             7 U.S.C. § 1, ET SEQ.
              (Alleged against all Defendants and John Does 1-50)

       223.    Plaintiff incorporates the allegations in this Complaint by reference and reallege

each preceding and succeeding paragraph as though fully set forth herein.

       224.    The CME and Cboe are designated by the CFTC as a contract market pursuant to

Section 5 of the CEA, 7 U.S.C. § 7. Both the CME and Cboe submit to the CFTC various rules

and regulations for approval through which these exchanges design, create the terms of and

conduct trading in Bitcoin futures. The CME and Cboe are organized, centralized markets that

provide a forum for trading on-exchange Bitcoin futures.

       225.    During the Class Period, Defendants and their co-conspirators, through the

conduct of John Does 1-50, as detailed in this Complaint, specifically intended to and did cause

unlawful and artificial manipulation of Bitcoin, the commodity underlying the CME and Cboe

Bitcoin futures, and understood and knew to a substantial certainty that manipulation of Bitcoin

prices would have a direct and corresponding manipulative effect on CME and Cboe Bitcoin

futures prices and would cause corresponding actual damage to class members. The acts of

manipulation described in this Complaint have no legitimate business purpose.

       226.    Defendants and their co-conspirators, through their own conduct and the conduct




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of John Does 1-50, had the ability to cause artificial prices in Bitcoin and Bitcoin futures.

Defendants, their co-conspirators, and John Does 1-50 did so through, among other things, their

dominant position in the Bitcoin market, their superior access to information, their financial

wherewithal, and their extensive involvement in USD₮s and Bitcoin.

       227.       Defendants, through their own conduct and the conduct of John Does 1-50, in fact

caused artificial prices in the Bitcoin futures market.       Defendants’ and John Does 1-50’s

misconduct caused prices of CME and Cboe futures to be artificial.

       228.       Defendants, their co-conspirators, and John Does 1-50 activities alleged herein

constitute unlawful manipulation of CME and Cboe Bitcoin futures and their underlying

commodity in violation of Sections 6(c)(3), 7 U.S.C § 9(3), 9(a) of the CEA, 7 U.S.C. § 13(a),

Section 22 of the CEA, 7 U.S.C. § 25(a), and CFTC Rule 180.2, 17 C.F.R. § 180.2.

       229.       The manipulation by Defendants and their conspirators and agents, including John

Does 1-50, deprived members of the Class of a lawfully operating market during the Class

Period and caused them to transact at artificial prices which directly led to injury and economic

damages.

       230.       Class members are each entitled to actual damages for the violations of the CEA

alleged herein.

                        THIRD CLAIM FOR RELIEF
                MANIPULATIVE AND DECEPTIVE DEVICE
IN VIOLATION OF THE COMMODITY EXCHANGE ACT, 7 U.S.C. §§1, ET SEQ. AND
              CFTC REGULATION 180.1(A), 17 C.F.R. §180.1(A)
              (Alleged Against All Defendants and John Does 1-50)

       231.       Plaintiff incorporates the allegations in this Complaint by reference and reallege

each preceding and succeeding paragraph as though fully set forth herein.

       232.       By Defendants’ intentional and reckless misconduct, Defendants each violated

Section 6(c)(1) of the CEA, 7 U.S.C. § 9, Section 22 of the CEA (7 U.S.C. § 25), and Regulation



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180.1(a), 17 C.F.R. § 180.1(a). Defendants’ misconduct caused prices of Bitcoin futures, and the

prices of Bitcoin underlying the Bitcoin futures, to be artificial during the Class Period.

       233.    Defendants, their co-conspirators, and John Does 1-50 intentionally or recklessly

used or employed a manipulative device or artifice to defraud, and engaged in acts, practices,

and/or courses of business which operated as a fraud or deceit upon any person, in connection

with a sale or purchase of commodities in interstate commerce. This conduct, among other

things, included the making of untrue and misleading statements of material facts, or omitted

material facts required to make the statements not misleading, such as:

       (a)     making untrue statements about Tether’s issuances of USD₮s;

       (b)     making untrue statements about Defendants’ U.S. dollar reserves;

       (c)     failing to disclose, and omitting, that Defendants and John Does 1-50 engaged in

               transactions designed to manipulate the price of Bitcoin to benefit their own

               trading positions;

       (d)     failing to disclose, and omitting, that Defendants and John Does 1-50 were

               unlawfully conspiring between and among themselves to manipulate the price of

               Bitcoin and Bitcoin futures; and

       (e)     issuing statements and directly engaging in acts alleged herein knowingly or with

               reckless disregard for the truth.

       234.    The manipulative and deceptive devices employed by Defendants and their

conspirators and agents, including John Does 1-50, deprived members of the Class of a lawfully

operating market during the Class Period and caused them to transact at artificial prices which

directly led to injury and economic damages.




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       235.       Class members are each entitled to actual damages for the violations of the CEA

alleged herein.

                       FOURTH CLAIM FOR RELIEF
  VICARIOUS LIABILITY FOR MANIPULATION OF BITCOIN FUTURES PRICES
          IN VIOLATION OF THE COMMODITY EXCHANGE ACT,
                                   7 U.S.C. § 2
              (Alleged Against All Defendants and John Does 1-50)

       236.       Plaintiff incorporates the allegations in this Complaint by reference and reallege

each preceding and succeeding paragraph as though fully set forth herein.

       237.       Defendants, their co-conspirators, and John Does 1-50 are liable under Section

2(a)(1) of the CEA, 7 U.S.C. § 2(a)(1), for the manipulative acts of their agents, representatives

and/or other persons acting for them.

                                FIFTH CLAIM FOR RELIEF
                                  AIDING AND ABETTING
                  IN VIOLATION OF THE COMMODITY EXCHANGE ACT,
                                    7 U.S.C. §§ 1, ET SEQ.
                      (Alleged Against All Defendants and John Does 1-50)

       238.       Plaintiff incorporates the allegations in this Complaint by reference and reallege

each preceding and succeeding paragraph as though fully set forth herein.

       239.       Defendants, their co-conspirators, and John Does 1-50 knowingly aided, abetted,

counseled, induced and/or procured the violations of the CEA alleged herein. Defendants, their

co-conspirators, and John Does 1-50 did so knowing of other Defendants’ manipulation of

Bitcoin and Bitcoin futures and their violations of the CEA, and willfully intended to assist these

manipulations to cause the prices of Bitcoin futures.          Through their aiding and abetting

violations, Defendants, their co-conspirators, and John Does 1-50 violated Section 22(a)(1) of

the CEA, 7 U.S.C. § 25(a)(1).

       240.       Class members are each entitled to actual damages for the violations of the CEA

alleged herein.



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                            SIXTH CLAIM FOR RELIEF
  VIOLATION OF RACKETEER INFLUENCED AND CORRUPT ORGANIZATION
                       ACT (RICO), 18 U.S.C. §§ 1961, ET SEQ.
   (Alleged Against Defendants iFinex Inc., BFXNA Inc., BFXWW Inc., DigFinex Inc.,
        Tether Holdings Limited, Tether Limited, Tether Operations Limited, and
                             Tether International Limited)

       241.    Plaintiff incorporates the allegations in this Complaint by reference and reallege

each preceding and succeeding paragraph as though fully set forth herein.

       242.    Defendants’ collective association, including their participation together in

issuing USD₮ and operating Bitfinex, constitutes a RICO enterprise in this case. At all relevant

times, Defendants, including the employees that conducted Defendants’ affairs through illegal

acts, knowingly and intentionally made false statements to U.S. Bitcoin investors and the public

for the purpose of concealing Defendants’ scheme.

       243.    Every member of the enterprise participated, in concert, in the process of

misrepresenting that USD₮ was backed by a 1:1 ratio by U.S. dollar reserves. Defendants did so

knowingly and intentionally for the purpose and with the effect of concealing Defendants’

extraordinary printing of USD₮, which in turn Defendants used to manipulate prices of Bitcoin

and Bitcoin futures. Defendants earned millions, if not billions, of dollars in wrongful profits as

a result of their enterprise, which they shared with employees who perpetrated the scheme.

       244.    Throughout the Class Period, Defendants have knowingly, intentionally, or

recklessly engaged in an ongoing pattern of racketeering under 18 U.S.C. § 1962(c) by

committing the predicate acts of mail fraud (18 U.S.C. § 1341), wire fraud (18 U.S.C. § 1343),

and bank fraud (18 U.S.C. § 1344(2)), by implementing the scheme to make false representations

regarding whether USD₮ was backed by a 1:1 ratio by U.S. dollar reserves, which enabled

Defendants to reap unlawful profits. Defendants transmitted or caused to be transmitted by

means of “wire communication in interstate or foreign commerce, . . . writings, signs, signals,




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[and] pictures,” “for the purpose of executing such scheme or artifice,” including by: (i)

transmitting false statements and representations regarding whether USD₮ was backed by a 1:1

ratio by U.S. dollar reserves; (ii) transmitting false statements regarding Tether Defendants’

reserves; and (iii) transmitting e-mail communications relating to the process of determining,

making, or transmitting false statements regarding Defendants’ U.S. dollar reserves.

       245.    Plaintiff is informed and believes that Defendants used the mail and wires in

conjunction with reaching their agreement to falsely represent that USD₮ was backed by U.S.

dollar reserves at a 1:1 ratio in order to further Defendants’ manipulation of Bitcoin. The

racketeering scheme detailed above is based on Defendants’ use of the internet and/or the mail

across state lines. These interstate channels to coordinate the scheme and transmit fraudulent

statements to Plaintiff and members of the class satisfies RICO’s requirement of an effect on

interstate commerce.

       246.    Through the racketeering scheme detailed above, Defendants use their enterprise

to improperly and unlawfully increase their profits to the detriment of Plaintiff and members of

the Class, who reside in differing states.

                           SEVENTH CLAIM FOR RELIEF
              UNJUST ENRICHMENT IN VIOLATION OF COMMON LAW
                  (Alleged Against All Defendants and John Does 1-50)

       247.    Plaintiff incorporates the allegations in this Complaint by reference and reallege

each preceding and succeeding paragraph as though fully set forth herein.

       248.    Rather than compete honestly, Defendants, their co-conspirators, and John Does

1-50 financially benefited through their unlawful acts, and it is unjust and inequitable for

Defendants to have enriched themselves through unlawful means.

       249.    Defendants, their co-conspirators, and John Does 1-50 enjoyed supra-competitive

profits at the expense of Plaintiff and the class members and caused Plaintiff and the class


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members to receive less profits than they otherwise would have received absent Defendants

unlawful conduct.

       250.    Commodities futures trading is a zero-sum game. To the extent that Defendants,

their co-conspirators, and John Does 1-50 benefits from their unlawful conduct, they necessarily

did so at the expense of Plaintiff and members of the class.

       251.    It is unjust and inequitable for Defendants, their co-conspirators, and John Does

1-50 to have enriched themselves in this matter at the expense of Plaintiff and the class members.

       252.    Equity and good conscience require restitution by Defendants, their co-

conspirators, and John Does 1-50.

       253.    Each Defendant should pay restitution or its own unjust enrichment to Plaintiff

and the class members.

       254.    Plaintiff and class members are entitled to the establishment of a constructive trust

impressed on the benefits to Defendants, their co-conspirators, and John Does 1-50 from their

unjust enrichment and inequitable conduct.

                                    PRAYER FOR RELIEF

       255.    Plaintiff, on behalf of himself and members of the Class, request relief as follows:

       A.      That the Court determine that this action may be maintained as a class action

under Rule 23(a) & (b) of the Federal Rules of Civil Procedure, that the Plaintiff be named as a

Class Representatives of the Class, that the undersigned be named as Lead Class Counsel of the

Class, and direct that notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of

Civil Procedure, be given to Class members;

       B.      That the Court enter an order declaring that Defendants’ actions, as set forth in

this Complaint, violate the federal laws set forth above;




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          C.     That the Court award Plaintiff and members of the Class damages, treble

damages, punitive damages, and/or restitution in an amount to be determined at trial;

          D.     That the Court issue appropriate injunctive and other equitable relief against

Defendants;

          E.     That the Court award Plaintiff pre- and post-judgment interest;

          F.     That the Court award Plaintiff their costs of suit, including reasonable attorneys’

fees and expenses, including costs of consulting and testifying experts; and,

          G.     That the Court award any and all such other relief as the Court may deem just and

proper.

                                          JURY DEMAND

          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff respectfully demand a trial by

jury on all matters so triable.

DATED: January 9, 2020
                                                       GLANCY PRONGAY & MURRAY LLP



                                                       By: /s/Gregory B. Linkh
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